
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          Nos. 95-1146
               95-1203

                        PAUL F. AHERN, D/B/A AHERN ASSOCIATES,

                                Plaintiff - Appellee,

                                          v.

                                DONALD THOMAS SCHOLZ,

                                Defendant - Appellant.

                                 ____________________

          Nos. 95-1147
               95-1204


                        PAUL F. AHERN, D/B/A AHERN ASSOCIATES,

                                Plaintiff - Appellant,

                                          v.

                                DONALD THOMAS SCHOLZ,

                                Defendant - Appellee.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                              and Stahl, Circuit Judge.
                                         _____________

                                _____________________














               Donald  S. Engel, with whom  Mark D. Passin,  Engel &amp; Engel,
               ________________             ______________   _____________
          Lawrence  G. Green, Susan E.  Stenger and Perkins,  Smith &amp; Cohen
          __________________  _________________     _______________________
          were on brief for Donald Thomas Scholz.
               David  C. Phillips, with whom David M. Given and Goldstein &amp;
               __________________            ______________     ___________
          Phillips were on brief for Paul F. Ahern.
          ________



                                 ____________________

                                     June 4, 1996
                                 ____________________









































                                         -2-














                    TORRUELLA, Chief Judge.  The parties in this breach  of
                    TORRUELLA, Chief Judge.
                               ___________

          contract  case, a  successful  musician and  his former  manager,

          dispute whether royalties from  record albums have been accounted

          for and paid to each other.  The  appeal is from a final judgment

          by the district court after a jury trial, disposing of all claims

          in respect to all parties.

                          BACKGROUND:  A BAND OUT OF BOSTON
                          BACKGROUND:  A BAND OUT OF BOSTON

                    In this case, the parties dispute many of the facts and

          the  inferences to  be drawn  from them.   Thus  we start  with a

          sketch of the basic  facts, and address the individual  issues in

          more detail  below.   Appellant and cross-appellee  Donald Thomas

          Scholz ("Scholz")  is a  musician, composer, and  record producer

          who was, and is, a member of the musical group BOSTON ("BOSTON").

          In late 1975, Scholz entered into three  agreements with appellee

          and cross-appellant Paul F.  Ahern ("Ahern"), who was engaged  in

          the business of promoting and managing music groups, and his then

          partner,  Charles McKenzie ("McKenzie")  (collectively, the "1975

          Agreements").   First,  Scholz  made a  recording agreement  (the

          "Recording  Agreement")  with  Ahern  and  McKenzie  d/b/a   P.C.

          Productions, to  which Bradley Delp,  the lead singer  of BOSTON,

          was  also  a  party.   Second  was  a  management agreement  (the

          "Management   Agreement"),   also   between   Scholz   and   P.C.

          Productions,  under  which  Ahern  and  McKenzie  were  appointed

          Scholz'  exclusive  personal  managers  worldwide.     The  third

          agreement  was a  songwriter  agreement made  between Scholz  and




                                         -3-














          Ahern, under  which Scholz  was  obligated to  furnish Ahern  his

          exclusive songwriting services for a period of five years.

                    In   early   1976,  CBS   Records  ("CBS")   and  Ahern

          Associates, a business name of Ahern and McKenzie, entered into a

          recording  agreement  for  the  exclusive  recording  services of

          BOSTON.  The group's first album (the "first album") was released

          in 1976, and sold approximately  11 million copies -- one  of the

          highest-selling debut albums ever.  Its second album (the "second

          album") was  released in  August 1978,  and sold  approximately 6

          million copies.

                    In 1978, Scholz and the other members of BOSTON entered

          into a  modification agreement  with Ahern and  P.C. Productions,

          dated April 24, 1978.  Among other things, the First Modification

          Agreement modified the 1975  Agreements and changed the financial

          relationship between Scholz and his managers.  Ahern and McKenzie

          dissolved their partnership.  A few  years later, in May of 1981,

          Ahern and Scholz, individually  and under various business names,

          entered  into  a  further  modification  agreement (the  "Further

          Modification  Agreement" or "FMA"), which is at the heart of this

          dispute.  Ahern ceased to be Scholz' manager.

                    In 1982, with the third album not yet released, CBS cut

          off  the payment of royalties generated from the first and second

          albums.  In 1983, CBS brought suit against Scholz, Ahern, and the

          members of  BOSTON for failure  to timely deliver  record albums.

          Scholz'  counsel in  that action  was Donald S.  Engel ("Engel");

          Ahern  had his own counsel.   While that  litigation was pending,


                                         -4-














          the third album  was released by MCA Records  ("MCA") in 1986 and

          sold  well over 4 million copies.  At the close of trial -- seven

          years  after  the CBS  litigation began  --  the jury  found that

          Scholz was not in breach of contract.  Scholz incurred legal fees

          of about $3.4 million dollars.

                    In February 1991,  Ahern commenced this  action against

          Scholz for  breach of the FMA claiming a failure to pay royalties

          due under the  third album.  Scholz asserted  various affirmative

          defenses and counterclaims against Ahern, including breach of the

          FMA.   During trial, Engel, Scholz' lead trial counsel, was twice

          called  as a witness.   At the  close of the  evidence, the court

          granted Scholz' directed verdict dismissing Ahern's Count III for

          fraud and IV  for breach  of implied covenant  of good faith  and

          fair dealing.  The court also granted Ahern's motion for directed

          verdict dismissing Scholz' First, Second, and Third Counterclaims

          and his, Third, Fourth, and Fifth affirmative defenses.  Only the

          parties' respective breach  of contract claims went to  the jury.

          The jury found that Scholz  breached section 5.2.1 of the  FMA to

          pay  Ahern royalties from the  third album, and  found that Ahern

          had not breached the FMA to account for and pay  Scholz royalties

          due from the  first and second albums.  It awarded Ahern $547,007

          in damages.

                    The  trial  court sitting  without  a  jury also  found

          Scholz  had  breached the  FMA, and  heard  Ahern's Count  II for

          declaratory relief and Count V for violation of Mass. Gen. L. ch.

          93A and Scholz'  Fifth Counterclaim for recision of  contract for


                                         -5-














          failure  to obtain a license.   The court  denied the declaratory

          relief Ahern sought in  Count I, and awarded him  costs, interest

          and  attorney's fees pursuant to  Count V for  violation of Mass.

          Gen. L. ch. 93A    2 &amp; 11.  The court denied the relief sought by

          Scholz  in his  Fifth Counterclaim  and held  that he  waived his

          Counts VI and  VII at oral argument.  After  a hearing on Ahern's

          bill of costs and application for  reasonable attorney's fees and

          interest, the court awarded Ahern $265,000 in attorney's fees and

          $135,000 in costs.  

                    The district court  denied, without a hearing,  Scholz'

          motion  for a new trial,  motion to amend  the court's memorandum

          and  order and  judgment  entered thereon,  motion  to admit  new

          evidence, and motion  to amend the  court's memorandum and  order

          and  the  judgment  entered   thereon  regarding  Scholz'   Sixth

          Counterclaim.  This appeal followed.

                                MOTION FOR A NEW TRIAL
                                MOTION FOR A NEW TRIAL

                    Appellant first argues that the district court erred in

          denying his motion for a new trial, made pursuant to Fed. R. Civ.

          P.  59(a).   We therefore  review the  record below  to determine

          whether the evidence  required that the district  court grant the

          motion  for a  new trial.    See Vda.  de P rez  v. Hospital  del
                                       ___ ______________     _____________

          Maestro, 910 F.2d 1004,  1006 (1st Cir. 1990).  In  reviewing the
          _______

          record of the 16-day  trial, we note that both  parties presented

          extensive evidence.  The jury heard testimony regarding a history

          that  spans  two  decades,  involves at  least  seven  contracts,

          includes detailed numerical accounting, and references more  than


                                         -6-














          half a dozen other legal battles.  The parties called  a total of

          fifteen witnesses,  seven of  whom, including Ahern,  Scholz, and

          Engel,  Scholz' counsel,  testified  twice.   In short,  the jury

          faced  a complex and sometimes conflicting set of facts in making

          its decision  as  to whether  either,  neither, or  both  parties

          breached the 1981 Further Modification Agreement.  Ultimately, we

          find that  the jury's verdict was not against the clear weight of

          the evidence, and the district court did not abuse its discretion

          in so finding.  

                    A.   Standard of Review
                    A.   Standard of Review
                         __________________

                    "A verdict may be set aside and new trial ordered 'when

          the verdict is against  the clear weight  of the evidence, or  is

          based upon evidence  which is  false, or will  result in a  clear

          miscarriage of justice.'"  Phav v. Trueblood, Inc., 915 F.2d 764,
                                     ____    _______________

          766  (1st Cir.  1990) (quoting  Torres-Troche v.  Municipality of
                                          _____________     _______________

          Yauco, 873 F.2d 499 (1st Cir. 1989)); see Fed. R.  Civ. P. 59(a);
          _____                                 ___

          S nchez v. Puerto Rico Oil Co., 37 F.3d 712, 717 (1st Cir. 1994).
          _______    ___________________

          In reaching  its decision,  "the district  court has  broad legal

          authority to determine whether or not a jury's verdict is against

          the 'clear  weight of the evidence.'"  Vda. de P rez, 910 F.2d at
                                                 _____________

          1006.   Nonetheless,  "the  trial  judge's  discretion,  although

          great, must be  exercised with due regard  to the rights of  both

          parties to have questions which are fairly  open resolved finally

          by the jury  at a  single trial."   Coffran v. Hitchcock  Clinic,
                                              _______    __________________

          Inc., 683  F.2d  5, 6  (1st Cir.),  cert. denied,  459 U.S.  1087
          ____                                ____________

          (1982); see Kearns v. Keystone Shipping Co., 863 F.2d 177, 178-79
                  ___ ______    _____________________


                                         -7-














          (1st Cir. 1988).  Thus, the district court judge "cannot displace

          a jury's verdict  merely because  he disagrees with  it or  would

          have found otherwise in a bench  trial."  Milone, 847 F.2d at 37;
                                                    ______

          see  Coffran, 683  F.2d at  6.   "The mere  fact that  a contrary
          ___  _______

          verdict  may  have  been  equally  --  or  even  more  easily  --

          supportable  furnishes no  cognizable ground  for granting  a new

          trial."  Freeman  v. Package  Mach. Co., 865  F.2d 1331,  1333-34
                   _______     __________________

          (1st Cir. 1988).

                    Our  review  is circumscribed:    we  will disturb  the

          district  court's ruling  on appellant's motion  for a  new trial

          only where there has been a clear abuse of discretion.  See Simon
                                                                  ___ _____

          v. Navon, 71 F.3d 9, 13 (1st Cir. 1995); Newell Puerto Rico, Ltd.
             _____                                 ________________________

          v. Rubbermaid Inc., 20 F.3d 15, 22 (1st Cir. 1994).
             _______________

                      In order  to  determine whether  such  an
                      abuse occurred here,  we must review  the
                      record below.  We do this not in the role
                      of  "a  thirteenth juror,"  assessing the
                      credibility  of  witnesses  and  weighing
                      testimony,  but  rather  to  isolate  the
                      factual  basis  for  the   trial  court's
                      ruling and provide the foundation for our
                      action today.

          Kearns,  863 F.2d at 179.  "So  long as a reasonable basis exists
          ______

          for  the jury's verdict, we will not disturb the district court's

          ruling on appeal."  Newell Puerto Rico, Ltd., 20 F.3d at 22.
                              ________________________

                    With  our standard  of review  established, we  turn to

          Scholz' argument and the  record below.   We address each of  the

          two breach of contract claims the jury decided in turn.

                    B.   Did Ahern Breach the FMA?
                    B.   Did Ahern Breach the FMA?
                         _________________________




                                         -8-














                    Scholz argues that Ahern breached his obligations under

          the  1981 FMA to  both account for  and pay to  Scholz, every six

          months, his share of  the royalties from the compositions  on the

          first and second albums:  indeed, Ahern admitted at trial that he

          had failed  to make some payments  he owed Scholz under  the FMA.

          The  jury and the trial court disagreed with Scholz, however, and

          found that Ahern's  breach of the  FMA was not  material.1    The

          question  facing us, then,  is whether the  district court abused

          its  discretion  in finding  that  the  jury's decision  was  not

          against the weight  of the evidence.  After careful review of the

          record,  we  find no  abuse of  discretion  in the  lower court's

          decision not to disturb the jury's finding.  

                    Scholz  argues at  some length  on appeal  that Ahern's

          breach  was  by  definition  material, both  for  his  failure to

          account and his failure to pay.   As for the first contention, we

          note  that while  Scholz' reading  of the  FMA as  requiring that

          Ahern  render Scholz  direct accountings  every  six months  is a

          convincing one,  it is not the only plausible one.  Indeed, Ahern

                              
          ____________________

          1  Regarding substantial performance, the court's instructions to
          the jury stated that

                      The term "performance" contains within it
                      substantial  performance.   Namely,  if a
                      person has substantially performed, that,
                      in  the   eyes  of   the  law,   is  full
                      performance  of  one's  obligations.   So
                      when I've used  the term "performance" or
                      "breach of the obligations," just include
                      within  those  concepts  the question  of
                      what  is  the   definition  of  the  term
                      "substantial performance" or "substantial
                      breach."

                                         -9-














          contends  that  the FMA  only  required him  to  send irrevocable

          letters of direction to  various entities involved directing them

          to send Scholz his share of the royalties when collected.  In the

          end, it would not be against the clear weight of  the evidence to

          find that letters of  directions would satisfy Ahern's accounting

          obligations  under the  FMA,  and that  such  letters were  sent.

          Therefore,  Ahern's failure to account every six months was not a

          material breach.  

                    As  for  the  second contention,  Scholz  supports  his

          position  that Ahern's  failure  to pay  constitutes a  separate,

          material breach  by drawing on  both New York2  and Massachusetts

          case law.  He points to the Second Circuit's refusal to  overturn

          summary  judgment  in ARP  Films,  Inc.  v. Marvel  Entertainment
                                _________________     _____________________

          Group,  Inc., 952 F.2d  643, 649 (2d  Cir. 1991).   In that case,
          ____________

          where plaintiffs failed to account and pay royalties in excess of

          $400,000, the court stated that 

                         the   district    court   correctly
                         concluded   that   the  breach   by
                         plaintiffs in failing  to make  the
                         payments  and  provide the  reports
                         required .  . . was  material as  a
                         matter  of  law,  thus  authorizing
                         Marvel  to terminate  the contract.
                         [The parties' agreement] explicitly
                              
          ____________________

          2   The FMA provides that it  shall be "governed by and construed
          and enforced in accordance with the laws of the State of New York
          applicable to agreements made and to be performed entirely in New
          York."    "In  the  absence  of  a  conflict  of  public  policy,
          Massachusetts honors choice-of-law  provisions in contracts, and,
          in this diversity  case, so must we."  Northeast  Data Sys., Inc.
                                                 __________________________
          v. McDonnell Douglass Computer Sys., Inc., 986 F.2d 607, 610 (1st
             ______________________________________
          Cir. 1993) (citation omitted).  As we find no public policy issue
          is  implicated by this  private dispute, we  respect the parties'
          choice-of-law provision.  See id.  
                                    ___ ___

                                         -10-














                         singled out plaintiffs'  obligation
                         to provide  "prompt accounting" for
                         distributions   as   a   term   and
                         condition  of  the  agreement,  the
                         substantial    breach   of    which
                         authorized Marvel  to terminate the
                         license provided  by the agreement.
                         In  addition,   failure  to  tender
                         payment   is  generally   deemed  a
                         material   breach   of    contract.
                         Finally,  as   the  district  court
                         found,    and     the    subsequent
                         accounting  confirmed,  the amounts
                         withheld from  Marvel by plaintiffs
                         were very substantial.

          Id. (citations  omitted).  Scholz also points  to a New York case
          ___

          holding that a licensee's failure to pay franchise fees totalling

          $40,129  over  four  months  constituted a  breach  of  contract,

          McDonald's  Corp. v. Robert Makin, Inc., 653 F. Supp. 401, 402-04
          _________________    __________________

          (W.D.N.Y. 1986),  as well  as  Massachusetts language  indicating

          that "[a] material breach of an agreement occurs  when there is a

          breach of 'an essential  and inducing feature of the  contract.'"

          Lease-it, Inc. v. Massachusetts  Port Auth., 600 N.E.2d  599, 602
          ______________    _________________________

          (Mass.  App. Ct.  1992) (holding  that  six-month refusal  to pay

          concession  and  rental  fees  was a  material  breach)  (quoting

          Bulcholz v. Green Bros. Co., 172  N.E. 101 (Mass. 1930)).  Scholz
          ________    _______________

          argues  that Ahern's  breach,  spanning thirteen  years, is  more

          egregious  than  these  cases  of  a  six-month  failure  to  pay

          concession and rental fees, four-month failure to pay license and

          lease  fees,  and  seven-month  failure to  pay  (and  five-month

          failure  to  account).3    Therefore, Scholz  concludes,  Ahern's
                              
          ____________________

          3   Scholz states  that  this is  especially true  here, where  a
          transfer of copyrights are  involved, and notes Ahern's admission
          that this  imposed on  him a heightened  duty to account  and pay

                                         -11-














          failure  to pay Scholz at least $459,000 is clearly a substantial

          breach.

                    We  are not convinced.  We  remind appellant that under

          our  standard of  review, we  do not sit  as a  juror, evaluating

          credibility and weighing  evidence, as he seems to ask  us to do.

          Rather, we  simply weigh whether  the district court  committed a

          clear  abuse  of  its discretion  in  determining  that the  jury

          verdict was not against the clear weight of the evidence.  Newell
                                                                     ______

          Puerto Rico, 20 F.3d at 22; Kearns, 863 F.2d at 179.   Our review
          ___________                 ______

          of the  record reveals  that Ahern's counsel  presented testimony

          questioning, to  varying degrees, nine  of the thirteen  items of

          the estimate  Scholz' accounting expert  made of  how much  Ahern

          owed  Scholz.     Phillip  Ames  ("Ames"),   a  certified  public

          accountant who  served  as business  manager for  both Ahern  and

          BOSTON from 1976 through  sometime in 1981 or 1982,  made several

          estimates  of how much Ahern owed Scholz, which he labelled "ball

          park  figures."   While  we note  that  Ames' final  estimate was

          $277,000, for a total of $459,000 with interest, we cannot assume

          that the jury  accepted this figure as gospel.   Given that Ahern

          sought  over a  million dollars  in principal  and interest  from

          Scholz, the jury may  reasonably have found that the  Ames figure

          was  not a substantial breach  in the particular  context of this

          case.   It may  have determined that  the amount  of money  Ahern

          owed,  taken   in  the  perspective  of   the  contract,  Ahern's

          obligations, and the total amounts of money concerned, was not so
                              
          ____________________

          royalties.

                                         -12-














          significant  a breach  as to violate  "an essential  and inducing

          feature of the contract."  Lease-it, 600 N.E.2d at 602.  Finally,
                                     ________

          addressing the case  law Scholz  relies on for  support, we  note

          that here, unlike in those cases, the amount of money owed was in

          question.

                    Ultimately,  examining the record in full, the evidence

          clearly  provides the  jury  and trial  court  with a  basis  for

          finding that Ahern did not substantially breach the FMA.  As this

          Circuit stated on another occasion,

                         We  can understand how a jury might
                         have decided for [defendant] on the
                         basis  of this  evidence.   But the
                         jury  did not  do this;  it decided
                         for [plaintiff].  We do not see how
                         one could say that the jury clearly
                         made a mistake.   We do not see how
                         one  could  say  that the  evidence
                         overwhelmingly      favored     the
                         [defendant].   Rather, the evidence
                         simply was mixed and contradictory.


          Vda. de  P rez, 910 F.2d at  1008.  Therefore we  cannot say that
          ______________

          the  district court committed a clear breach of its discretion on

          this point.

                    C.   Did Scholz Breach the FMA?
                    C.   Did Scholz Breach the FMA?
                         __________________________

                    Ahern claimed below that Scholz breached his obligation

          under section  5.2.1 of the  FMA to  pay Ahern his  share of  the

          royalties due from the  third album.4  The evidence  presented at
                              
          ____________________

          4  That provision provided, in pertinent part,

                         With   respect    to   the   future
                         commercial  release  of any  albums
                         embodying  the musical  performance
                         of the group "Boston" . . . , Ahern

                                         -13-














          trial centered on a  document entitled "Artist Royalty Statement"

          ("the  Scholz  Statement"),  which Scholz  presented  to  Ahern.5

                              
          ____________________

                         shall   be   entitled  to   receive
                         eighteen  percent  (18%)  of  gross
                         royalties   after   deduction   and
                         payment  of  only (i)  a producer's
                         royalty    to   Scholz    (computed
                         according   to    the   terms   and
                         provisions of the agreement between
                         CBS   and   Ahern  Associates,   as
                         amended, at  a  basic rate  of  six
                         percent   (6%)  of   the  wholesale
                         royalty  base  price) and  (ii) all
                         commercially  reasonable  recording
                         expenses,  including  Tom   Scholz'
                         recording       services      (i.e.
                         commercially reasonable engineering
                         and  other recording  services), or
                         recording expenses  incurred by CBS
                         or such other company  and deducted
                         from royalties payable . . . .

          Because McKenzie was entitled to  a percentage of the  royalties,
          Ahern's actual rate was 12 percent.

          5   In fact, Scholz  sent Ahern two  "Artist Royalty Statements,"
          the first dated from inception to  June 30, 1990, the second from
          inception through December 31, 1993.  We address the second here,
          as being more recent.  It listed the following figures:

          Total Gross Royalties Reported by MCA Records     $6,604,048.14
          Gross Royalties - Audit Settlement                   170,000.00
          Less Producer Share                               (2,257,862.05)
                                                            ______________
                    Gross Artist Royalties                   4,516,186.09

          less MCA Costs Deducted                              508.566.22
          less MCA Costs - Audit Settlement                   (210,000.00)
          less Artist Costs (Schedule 1)                     4,360,447.00
                                                             ____________
                    Net Artist Royalties                      (142,827.13)

          Of this  final "Net Artist Royalties"  figure, Ahern's percentage
          share was  12 percent,  so that  his share of  the royalties  was
          minus  $17,139.26.   "Artist Costs"  included charges  for 11,971
          hours  of  studio  time  in  Scholz'  studio  at  $125  an  hour;
          engineering  and equipment for  the studio, at a  total of $60 an
          hour; and $1.7 million in legal  fees to Engel's law firm for the
          CBS litigation and negotiation of the agreement with MCA.


                                         -14-














          That statement listed over $6 million in gross royalties reported

          by MCA prior  to December  31, 1993, but  reduced that figure  by

          deducting, among other things, a producer share and artist costs,

          so that the net artist royalties fell to below zero  -- and Ahern

          was not  entitled to any money.   Scholz argued at  trial that he

          did not  breach  the  FMA,  but the  jury  and  the  trial  court

          disagreed.

                    On  appeal,  Scholz  contends  that  their  finding  is

          against  the  weight  of  the  evidence,  because  Ahern's  prior

          material breaches excused  Scholz' performance under the  Further

          Modification Agreement.   Scholz points  out that paragraph  2 of

          the FMA states that 

                         Scholz  wishes  to  guarantee  that
                         Ahern  shall  receive at  a minimum
                         certain   amounts   of  monies   in
                         connection  with  future recordings
                         embodying  the performances  of the
                         group "BOSTON" . . . .  in exchange
                         for the agreement  of Ahern as  set
                         forth herein.

          Scholz shapes his argument  on appeal as follows:   Since Ahern's

          only  agreement of substance was his agreement to account for and

          pay royalties to Scholz  for prior BOSTON albums, Ahern's  breach

          of his  commitment excused  Scholz' performance.   Indeed, Scholz

          notes, the parties' mutual commitments to account to and pay each

          other  are expressly stated to be in consideration of each other.

          In  such   "bilateral  contracts   for  an  agreed   exchange  of

          performances, even though the promises  are in form absolute, the

          law regards them as constructively conditioned in order  to avoid

          an  unjust  result."   Industrial  Mercantile Fac.  Co.  v. Daisy
                                 ________________________________     _____

                                         -15-














          Sportswear,  288 N.Y.S.2d  209, 211 (N.Y.  Civ. Ct.  1967), order
          __________                                                  _____

          aff'd, 289  N.Y.S.2d 332  (N.Y. Sup.  Ct. 1968);  see Restatement
          _____                                             ___

          (Second) of  Contracts,   237  cmt. a (1979).   Moreover,  Scholz

          continues, the non-occurrence  of a condition  of a party's  duty

          excuses  the non-breaching  party's  obligation to  perform  even

          though that party does not know of its non-occurrence, id.,   237
                                                                 ___

          cmt. c,  and the intention or  scienter of a  breaching party are

          not considered in the elements of  breach of contract.  See Agron
                                                                  ___ _____

          v.  The Trustees  of Columbia  Univ., 1993  WL 118495  (S.D.N.Y.,
              ________________________________

          April 12, 1993).

                    Considering this,  Scholz  points out  that  his  first

          royalty  statement regarding the third album  was rendered by MCA

          on April 1, 1987.  Thus the  earliest he could have owed money to

          Ahern  under the FMA was August 15,  1987 -- and by that date, he

          argues,  Ahern had already failed to account to Scholz or pay him

          royalties  with respect  to the  first two  albums for  over five

          years.   Therefore,  Scholz maintains  he  was excused,  at least

          until  Ahern tendered  payment, from  rendering an  accounting or

          paying royalties  to Ahern  from the  third album.   At  the very

          least,  Scholz argues,  he  could have  withheld  payment of  the

          $459,000 admittedly owed him  as a set-off against any  amount he

          owed  Ahern.    See Record  Club  of  America  v. United  Artists
                          ___ _________________________     _______________

          Records, Inc., 80 B.R. 271, 276 (S.D.N.Y. 1987), vacated on other
          _____________                                    ________________

          grounds, 890 F.2d 1264 (1989).
          _______

                    In  so arguing, Scholz does not contend that he did not

          in fact  breach the FMA:   he simply maintains that  Ahern did so


                                         -16-














          first.  Since Scholz does not revisit the merits of the  evidence

          presented  at trial  regarding  his breach,  we  will not  do  so

          here.6  However,  since we  have already found  that the  verdict

          that Ahern did not  substantially breach the FMA was  not against

          the clear  weight  of the  evidence, Scholz'  argument here  must

          fail.  Clearly, it  would be inconsistent with our  acceptance of

          the  verdict that Ahern did  not substantially breach  the FMA to

          find  that Scholz'  performance was  excused by  Ahern's material

          breach.  Accordingly, we affirm  the district court's decision to

          refuse the motion for a new trial on this issue.7 

                    D.   Sufficiency of the Evidence
                    D.   Sufficiency of the Evidence
                         ___________________________

                    In a  footnote, Scholz adds  that he  is appealing  the

          verdict not only in  terms of the denial of his  motion for a new

          trial, as discussed above, but  also that he appeals each of  the

          jury's  findings -- i.e. that Scholz breached the FMA, that Ahern

          did  not breach  the Agreement,  and that  Ahern was  entitled to

          damages --  on  the grounds  of  insufficiency of  the  evidence.

                              
          ____________________

          6    We note, however, that our review of the record convinces us
          that the verdict is not against the clear weight of the evidence,
          and  so  the district  court's  ruling was  not  an abuse  of its
          discretion.

          7  Scholz argues, in a footnote, that the jury's verdict violates
          the premise that a  party cannot recover more than he  would have
          obtained  had no breach occurred.   However, we  need not address
          his  contention.    Scholz provides  no  more  than  a couple  of
          citations to flesh out his position:  he does not explain how the
          jury verdict places Ahern in a better position than he would have
          been if Scholz had not  breached the FMA.  It is by now axiomatic
          that "issues  adverted to in a  perfunctory manner, unaccompanied
          by some  effort at  developed argumentation, are  deemed waived."
          United  States v.  Zannino,  895 F.2d  1,  17 (1st  Cir.),  cert.
          ______________     _______                                  _____
          denied, 494 U.S. 1082 (1990).
          ______

                                         -17-














          Scholz relies on Engine Specialties, Inc. v. Bombadier Ltd.,  605
                           ________________________    ______________

          F.2d  1,  9  (1st  Cir.  1979),  cert.  denied  sub  nom.  Durham
                                           ________________________  ______

          Distribs.,  Inc. v. Bombadier Ltd., 449 U.S. 983 (1983), to claim
          ________________   _______________

          that  our review of his alternative argument is limited to asking

          whether  there is sufficient support in the record for the jury's

          finding.  

                    Engine Specialties outlines the  standard of review  as
                    __________________

          follows:

                         If we can  reach but one conclusion
                         after  reviewing  the evidence  and
                         all    inferences    drawn   fairly
                         therefrom   in   the   light   most
                         favorable  to  the  plaintiff  (the
                         prevailing   party)  and   if  that
                         conclusion differs from the jury's,
                         only  then can  the finding  be set
                         aside.  Even  if contrary  evidence
                         was   presented   and   conflicting
                         inferences  could  be drawn,  it is
                         for the jury  to draw the  ultimate
                         conclusion, and  such determination
                         will  not  be disturbed  unless the
                         condition described above is met.

          Id.;  see Fleet Nat'l Bank  v. Anchor Media  Television, Inc., 45
          ___   ___ ________________     ______________________________

          F.3d  546,  552-53  (1st  Cir. 1995)  (outlining  application  of

          standard).  We note that, in fact, this is the standard of review

          applicable  to  motions for  judgment as  a  matter of  law under

          Federal Rule of  Civil Procedure 50.  While it is a circumscribed

          review, it is  nonetheless not as  limited as  our review of  the

          district  court's disposition of the  motion for new  trial.  See
                                                                        ___

          S nchez,  37  F.3d  at 716-17  (comparing  the  two  standards of
          _______

          review).    We  find nothing  in  the  record  to establish  that

          appellant Scholz made a  motion for judgment as a  matter of law,


                                         -18-














          so that he would be entitled to this less deferential standard of

          review.  Rather,  he argues  sufficiency of the  evidence in  his

          motion  for a new  trial.  Our  review of  the record, therefore,

          must be under  the abuse of  discretion standard outlined  above.

          See MacQuarrie v. Howard Johnson Co., 877 F.2d 126, 131 (1st Cir.
          ___ __________    __________________

          1989) (noting  that the strict "abuse of discretion" standard "is

          especially appropriate  if the motion for a new trial is based on

          a claim that the verdict is against the weight of the evidence");

          Freeman,  865  F.2d at  1341-43  (evaluating  the weight  of  the
          _______

          evidence as part of a motion for a new trial, separately from its

          review of the  denial of the motion  for judgment notwithstanding

          the verdict).

                    Irrespective  of  which standard  of  review we  apply,

          however, Scholz' alternative argument fails.  First, the evidence

          was overwhelming that he breached the FMA by failing to pay Ahern

          his share of the  royalties from the third album;  indeed, Scholz

          does  not attempt to argue otherwise.  Second, although the issue

          of  the  materiality  of  Ahern's  breach  is  fairly  close,  as

          discussed above, there was sufficient evidence in the record  for

          the  jury to determine that  Ahern did not  materially breach the

          Further Modification  Agreement.  Finally, having  made these two

          determinations, the award of damages was appropriate.  Therefore,

          given the scope of  the evidence as  described, we find that  the

          district court's denial of appellant's motion for a new trial was

          amply supported and not an abuse of discretion.

                    E.   The Length of the Jury Deliberations
                    E.   The Length of the Jury Deliberations
                         ____________________________________


                                         -19-














                    Scholz next contends that the jury failed to follow its

          instructions.8    The district  court  instructed  the jury  that

          damages could only be awarded if it found  one party breached the

          FMA and the other did not.  If it found that both parties were in

          breach, no damages could  be awarded.  In making  his contention,

          Scholz  reiterates   his   argument   that   the   evidence   was

          insufficient, emphasizing that Ahern  admitted he did not perform

          his  obligations  under the  FMA,  and  maintaining that  Ahern's

          accountant  admitted that he both failed to pay at least $459,000

          to  Scholz and  mischaracterized an advance  from a  foreign sub-

          publisher as a loan.  Under the jury instructions, Scholz argues,

                              
          ____________________

          8  The jury was instructed, in pertinent part, that:

                      A   party   which   has   performed   its
                      obligations under a contract  is entitled
                      to  have the  other  party  do the  same.
                      Conversely,   a   party  which   has  not
                      performed   its   obligations   under   a
                      contract is not  entitled to  performance
                      from  the  other  party.    So  once  you
                      understand the terms of the contract, you
                      should  determine  whether any  party has
                      failed to perform any of the terms of the
                      contract.
                                         ***
                         If your determination  should be  that
                      the    defendant    or    defendant    in
                      counterclaim  breached  the contract  and
                      that  the  plaintiff   or  plaintiff   in
                      counterclaim did not,  at that point  you
                      would consider the issue of damages.
                                         ***
                         If you find that both parties breached
                      their   obligations  under   the  Further
                      Modification  Agreement, then  no damages
                      should  be accorded to either party under
                      the contract.

          (Day 15, pages 90-92).

                                         -20-














          these factors preclude the jury from finding that Scholz breached

          the FMA, or at  least from awarding Ahern  any royalties.   These

          contentions have been dismissed in our discussion above.  

                    However, Scholz raises  a new factor:   he argues  that

          the   jury's  verdict   and   the  extremely   short  period   of

          deliberations  -- one and a half hours9 following fifteen days of

          testimony   --  reveal   that  the   jury  ignored   the  court's

          instructions and rendered an  erroneous and inconsistent verdict.

          He cites  the fact  that one  of the  jurors planned  to go  on a

          cruise  two days after the date of  the verdict as proof that the

          jury was in  a hurry  to finish  its deliberations.   The  jury's

          questions,10  Scholz adds,  demonstrates  that it  was determined

          to award Ahern $547,000 regardless of who was in breach.  Between
                              
          ____________________

          9    For  the purposes  of  this  discussion,  we accept  Scholz'
          calculation of the time the jury spent deliberating its verdict.

          10   The  jury's  questions, and  the  court's answers,  were  as
          follows:

                         Question No. 1,  if neither  breached,
                      are damages awarded?
                         [Answer:]  No.
                         [Question No. 2:]  Verdict sheet  uses
                      the words, quote,  "only if," unquote, in
                      question three.  I assume  this precludes
                      us from awarding damages or from awarding
                      damage, one, if both breach.
                         [Answer:]  If both breach, no damages.
                      If neither breach, no damages.
                         [Question No.  3:]  If one  did, do we
                      only take account from one side?
                         [Answer:]  As  I said, you  would only
                      consider the claim  of the  non-breaching
                      party,  but your  judgment on  that claim
                      has to be based  on all the evidence that
                      has been introduced.

          (Day 15, page 104).

                                         -21-














          the  insufficient evidence  and  the  perfunctory  deliberations,

          Scholz concludes, the  district court had an  affirmative duty to

          grant a new  trial.  He seeks support for  his argument in Kearns
                                                                     ______

          v. Keystone Shipping Co., 863 F.2d 177 (1988), where this Circuit
             _____________________

          held  that a  brief jury  deliberation --  one hour  and eighteen

          minutes, following  a three-day trial  -- coupled with  a verdict

          contrary  to the great weight of the evidence created a situation

          where the district court had an affirmative duty to set aside the

          verdict.  Id. at 182.
                    ___

                    We  remain unswayed.    Scholz' reliance  on Kearns  is
                                                                 ______

          misplaced.  There,  the court explicitly required  that the brief

          deliberation be paired with  a verdict contrary to the  weight of

          the evidence, noting  that "'[i]f the  evidence is sufficient  to

          support the verdict, the  length of time the jury  deliberates is

          immaterial.'"   Kearns, 863 F.2d at 182 (quoting Marx v. Hartford
                          ______                           ____    ________

          Accident and Indemnity Co., 321 F.2d 70, 71 (5th Cir. 1963)).  We
          __________________________

          have already determined that, here, there was evidence sufficient

          to support  the verdict.  Therefore, Scholz is merely left with a

          complaint that  the jury  should  have deliberated  longer.   His

          complaint  is easily  defeated, as  "no rule  requires a  jury to

          deliberate  for  any  set length  of  time."    United States  v.
                                                          _____________

          Pe agar cano-Soler,  911 F.2d 833, 846  n.15 (1st Cir. 1990); see
          __________________                                            ___

          United States v. Brotherton, 427 F.2d 1286, 1289 (8th Cir. 1970).
          _____________    __________

          Indeed, we  have previously upheld a verdict on thirty-two counts

          which  was reached in four  hours, following a  trial that lasted

          five weeks, incorporating more  than fifty witnesses and hundreds


                                         -22-














          of  exhibits.   Pe agar cano-Soler,  911  F.2d at  846;  see also
                          __________________                       ________

          United  States  v.  Anderson,  561 F.2d  1301,  1303  (9th  Cir.)
          ______________      ________

          (holding that jury's brief deliberation does not indicate  it did

          not give full and impartial consideration to the evidence), cert.
                                                                      _____

          denied,  434  U.S.  943  (1977);  Brotherton,  427 F.2d  at  1289
          ______                            __________

          (finding  that jury deliberation of five to seven minutes did not

          demonstrate  that jury  did  not  consider  court's  instructions

          before reaching verdict).  

                    We also refuse to read a determination to award Ahern a

          set  amount  of money  from  the jury's  questions,  which simply

          clarified where  it could  award damages,  and whose  evidence it

          should consider.   Cf. Clark v. Moran, 942 F.2d  24, 32 (1st Cir.
                             ___ _____    _____

          1991)  (refusing  to impute  reasonable  doubt  of  guilt  or  of

          witnesses'  credibility from  fact  that  jury  deliberation  was

          lengthy  or from  questions asked).   Finally,  we note  that the

          jury's task was  relatively simple.   Although  it heard  complex

          testimony  and was asked to weigh detailed evidence, the district

          court  had already  dismissed as a  matter of law  all the claims

          except  for the respective contract claims, and the sums at issue

          had been clearly defined in the evidence and closing arguments.

                              ENGEL'S TESTIMONY AT TRIAL
                              ENGEL'S TESTIMONY AT TRIAL

                    As noted above, Engel, Scholz' lead counsel, was called

          by  both parties  as a  witness.   Maintaining that  Ahern called

          Engel as  an expert  witness, instead  of  a percipient  witness,

          Scholz now  argues that the district  court committed prejudicial

          error  by, first,  permitting  Ahern to  do  so, and  second,  by


                                         -23-














          refusing to  allow follow-up  questioning by  Engel's co-counsel,

          Passin.11  

                    Our examination of each of  Scholz' contentions follows

          the same legal framework.   In each analysis, two  questions face

          us:   first,  whether the  district court  erred in  admitting or

          refusing the  testimony or motion; and second, whether that error

          was  harmful.  See Doty v. Sewall,  908 F.2d 1053, 1057 (1st Cir.
                         ___ ____    ______

          1990).  Only if  we answer  both questions  in the  positive will

          Scholz' argument on appeal prevail.

                    A  trial court's  error in  an evidentiary  ruling only

          rises  to the  level of  harmful error  if a  party's substantial

          right is affected.   See 28 U.S.C.   2111;  Fed. R. Evid. 103(a);
                               ___

          Lubanski v. Coleco Indus., Inc., 929 F.2d 42, 46 (1st Cir. 1991).
          ________    ___________________

          "In determining  whether an error affected  a party's substantial

          right, '[t]he central question is whether this court can say with

          fair  assurance .  . .  that the  judgment was  not substantially

          swayed by the  error.'"   Espeaignnette v. Gene  Tierney Co.,  43
                                    _____________    _________________

          F.3d  1, 9  (1st Cir.  1994) (quoting  Lubanski,  929 F.2d  at 46
                                                 ________

          (internal  quotations omitted)).    Factors we  must consider  in

          determining whether  substantial  rights are  implicated  include

          both the centrality of the evidence and the prejudicial effect of

                              
          ____________________

          11   Scholz also argues that, since Engel's testimony was "highly
          prejudicial" to  Scholz, its improper admission is  grounds for a
          new trial, citing Conway v. Chemical Leaman Tank Lines, Inc., 687
                            ______    ________________________________
          F.2d 108  (5th Cir.  1982) (upholding  district court's  grant of
          motion  for  new  trial on  grounds  of  unfair  surprise due  to
          testimony  from surprise expert witness).  Since we find that the
          testimony  was not  in fact  highly  prejudicial to  Scholz, this
          sparsely drawn alternative argument fails.

                                         -24-














          its exclusion or inclusion.  Lubanski, 929 F.2d at 46.   We weigh
                                       ________

          these factors in "'the  context of the case  as gleaned from  the

          record as a  whole.'"  Id. (quoting Vincent v.  Louis Marx &amp; Co.,
                                 ___          _______     ________________

          874 F.2d 36, 41 (1st Cir. 1989)).  We have  repeatedly noted that

          "no substantial right of the party is affected where the evidence

          omitted was cumulative as to other admitted evidence."  Doty, 908
                                                                  ____

          F.2d at 1057.  Should a reviewing court be in "grave doubt" as to

          the likely  effect an error had on the verdict, the error must be

          treated as  if it had  in fact affected  the verdict.   O'Neal v.
                                                                  ______

          McAninch, -- U.S. --, 115 S. Ct. 992, 994 (1995) (noting that "by
          ________

          'grave doubt' we mean that, in the judge's mind, the matter is so

          evenly  balanced as he feels  himself in virtual  equipoise as to

          the harmlessness of the error.").  

                    We note that under Federal Rule of  Evidence 103(a), we

          review the decision not  only to determine whether a  substantial

          right of the party is affected, but also to see  whether a timely

          objection  "appears of  record,  stating the  specific ground  of

          objection,  if the  specific  ground was  not  apparent from  the

          context."  Fed.  R. Evid.  103(2); see Bonilla  v. Yamaha  Motors
                                             ___ _______     ______________

          Corp., 955 F.2d 150, 153 (1st Cir. 1992).  Here,  Scholz' counsel
          ____

          objected  at the time of the challenged rulings.  Therefore, this

          element of our analysis is not at issue.

                    Having established the legal framework, we examine each

          of Scholz' contentions in turn.

                    A.   The Contested Testimony
                    A.   The Contested Testimony
                         _______________________




                                         -25-














                    Phillips, Ahern's  counsel, put  Engel on the  stand on

          the  seventh  day  of trial.    The  objected-to  portion of  his

          questioning  sought  testimony  regarding the  Scholz  Statement,

          which  purported to account to  Ahern for the  royalties from the

          third  album.  In the Statement, Scholz deducted $1.7 million for

          legal  fees charged  by  Engel's law  firm,  which the  Statement

          listed as equivalent to half  of the fees charged in  relation to

          the negotiation of the agreement with MCA and the CBS litigation.

          The  immediate issue  at  trial was  whether  this deduction  was

          permissible  as a  "commercially  reasonable  recording  expense"

          deductible from  the royalties  under section  5.2.1 of  the FMA.

          Because the record is determinative of this issue, we quote it at

          length:   

                      Q. Now, as far as legal fees as recording
                      costs  are  concerned,  you've  had  some
                      experience over the  years, have you not,
                      in reviewing the contracts  of performing
                      artists  and groups in the musical field;
                      is that right?
                      A.  Yes.
                      Q.  And could  you give the Court and the
                      jury  some  estimate  of  the  number  of
                      contracts that you believe is an estimate
                      that you reviewed over the period of time
                      that  you've been  doing such  matters in
                      the entertainment field?
                      A. Hundreds and hundreds and hundreds and
                      more.
                      Q. Okay.
                         Have  you ever  seen legal  fees as  a
                      recording cost  in any of  those hundreds
                      and hundreds of contracts?
                         MR. PASSIN:  Your Honor, I object.  He
                      hasn't been called as an expert witness.
                         THE COURT:  Overruled.
                         Do  you mean, are  you saying  that he
                      can't answer that question?
                         THE WITNESS:  No, your Honor, I  would
                      --

                                         -26-














                         THE COURT:   Overruled.  If  you can't
                      answer it, say you can't answer it.
                         THE  WITNESS:   I can  answer it,  but
                      it's  a little  awkward to  call me  as a
                      witness,  as  an  expert in  my  client's
                      case.
                         THE  COURT:    Overruled.    You  were
                      advised that you were going to be called,
                      and you  said that you wished  to stay in
                      this case and your client was so advised.
                      The objection has been made.  Overruled.
                         MR. ENGEL:   At  one point we  said we
                      wished to be out of the case.  I think it
                      should be  clear.   At one point  we said
                      out.
                         THE COURT:  Overruled.
                         BY MR. PHILLIPS:
                      Q. Do  you have the question in mind, Mr.
                      Engel?  In  the hundreds and hundreds  of
                      contracts   that   you've  reviewed   for
                      performing artists such as Mr. Scholz and
                      other groups in the music field, have you
                      ever seen legal fees as a recording  cost
                      or expense?
                      A.  I have never  seen legal fees  -- You
                      mean designated in a contract?
                      Q.  Yes, as a recording cost or expense.
                      A. No,  I  have  never  seen  legal  fees
                      designated in a contract as anything, and
                      certainly not as recording costs.

          (Day 7, pages 71-73).  

                    Scholz claims the district court erred in admitting the

          testimony over  his counsel's objection, because  Ahern's counsel

          was  using Engel  as an  expert witness  against his  own client.

          First, he points out  that Engel was not designated  as an expert

          under  Federal  Rule  of Civil  Procedure  26.    See Prentiss  &amp;
                                                            ___ ___________

          Carlisle Co.  v. Koehring-Waterous Div. of  Timberjack, Inc., 972
          ____________     ___________________________________________

          F.2d 6 (1st Cir.  1992) (upholding trial court's refusal  to hear

          expert  testimony  from witness  not  designated  as an  expert).

          Next,   he  maintains   that  under   the  applicable   Rules  of

          Professional  Conduct, Engel  should  not have  been required  to

                                         -27-














          testify against his  client on an  important and disputed  point.

          See Model  Code of Professional  Responsibility DR 5-102(B).   In
          ___

          turn, Ahern  contends that the  questions asked were  not seeking

          Engel's  expert opinion  under  Federal Rule  of Evidence  701,12

          or,  in the alternative, that the district court acted within its

          discretion  in admitting  the testimony.   See  Espeaignnette, 43
                                                     ___  _____________

          F.3d  at   10-11  ("Determinations   of  whether  a   witness  is

          sufficiently qualified to testify as an expert on a given subject

          and whether such expert  testimony would be helpful to  the trier

          of  fact are  committed  to the  sound  discretion of  the  trial

          court."); United  States v.  Sep lveda, 15  F.3d 1161,  1183 (1st
                    ______________     _________

          Cir. 1993) (stating that manifest error standard applies to trial

          judge's  rulings regarding  expert testimony), cert.  denied, ___
                                                         _____________

          U.S. ___, 114 S. Ct.  2714 (1994).  His final contention  is that

          Scholz' complaint  should be  deemed waived because  Scholz first
                              
          ____________________

          12   We note  in passing  that we are  skeptical both  of Ahern's
          claim  that Engel  was  not called  as an  expert and  of Scholz'
          position  that  Engel was  surprised  at being  questioned  as an
          expert, in  light of  the following discussion,  held immediately
          before Engel took the stand:
                         MR. ENGEL: ... The other thing is this
                      delicate  situation.     I'm  an   expert
                      witness, right?
                         MR. PHILLIPS:  Yes.
                         MR. ENGEL:  So  I'm being called as an
                      expert?
                         THE COURT:  Which you were on notice.
                         MR ENGEL:  I understand.

          (Day 7, pages 53-54).  Despite Scholz' protestations in his brief
          that  the reference to Engel as an  expert must be a misstatement
          by Engel, an  error by the court reporter, or  based on something
          outside the reporter's hearing, it seems apparent to us that both
          parties  foresaw  the  possibility   of  expert  testimony  being
          elicited.  Indeed,  the court's statement above suggests  that it
          based its later ruling on the same premise.

                                         -28-














          injected  Engel's opinion  testimony  into the  case through  his

          affidavits.  

                    We need  not consider these arguments,  however, for we

          find that, even assuming  the trial court erred in  admitting the

          challenged  section  of Engel's  testimony,  it  was not  harmful

          error.   Essentially, the  challenged evidence  was  that in  the

          "hundreds and hundreds and  hundreds and more" contracts  that he

          has reviewed,  Engel  never  saw  "legal  fees  designated  in  a

          contract  as anything,  and  certainly not  as recording  costs."

          (Day  7, page  73).   Having examined  the record  as a  whole to

          determine if admitting this evidence affected Scholz' substantial

          rights,  in accordance with our legal framework, we find that any

          court error did not amount to  harmful error. 

                    First, although  the issue  of whether Scholz  breached

          the  FMA was  certainly a  major focus of  the case,  and Engel's

          testimony related to the single largest  deduction taken from the

          royalties  on  the Scholz  Statement,  we  disagree with  Scholz'

          contention that it  was probably determinative for  the jury, for

          several  reasons.   Ames and  Stewart L.  Levy ("Levy"),  who has

          served as  Ahern's counsel in the past  and who was designated an

          expert on  the subject of  the reasonableness  of the  attorney's

          fees,  both  testified that  attorney's  fees  are not  recording

          expenses or recording costs.   Ahern testified that they  are not

          artist costs or  expenses for  recording purposes.   We found  no

          testimony,   besides  Engel's,  contesting   this  point.    Levy

          challenged the fees' inclusion on the Scholz Statement on another


                                         -29-














          front as well,  stating that Ahern was asked  to pay for services

          that at times were working  against his best interests, including

          time billed on motions to preclude a stipulation which would have

          had Sony  or CBS dropping Ahern  from the lawsuit.   In short, he

          stated, 

                         We start off  with the  proposition
                         that here is  Mr. Ahern who is  not
                         directing   Mr. Scholz   to    jump
                         labels,  not instructing  Mr. Engel
                         to do anything.  Because Mr. Scholz
                         decides to do what he is doing, not
                         only  does Mr.  Ahern  get sued  by
                         CBS, not only is Mr. Ahern's income
                         from  CBS cut  off, now  Mr. Scholz
                         and his attorney, Mr. Engel, expect
                         Mr.  Ahern not only  to accept that
                         but to  defray part of the  cost of
                         Mr. Engel doing this.  I find  that
                         outrageous.

          (Day 7, page 95).  Engel testified that the attempt to keep Ahern

          in the case was not  directed solely at him,  but was part of  an

          attempt to keep CBS from making deals with potential witnesses.

                    The fees were not  disputed solely on the basis  of the

          appropriateness  of their  deduction.   Levy testified  at length

          that the fees themselves were unreasonable.  He testified that he

          felt that Engel's firm

                         did  the work without any regard to
                         any kind of budget, without any cap
                         on  their work.   Then  they turned
                         around  and  said, he  said  we had
                         carte blanche. .  . . Suddenly when
                         the case  is over  in 1990,  we are
                         told it is $3  million. . . . There
                         were no parameters.   Mr. Engel did
                         what he  wanted to do.   No one was
                         checking what he did to say  it was
                         too expensive, don't do it.



                                         -30-














          (Day 7, pages 104-05).   In turn,  Engel testified that the  fees

          were higher  than originally  estimated because  the head  of CBS

          personally pursued  the litigation  to the "bitter  end," despite

          repeated attempts  to settle.  Ultimately,  he maintained, Scholz

          prevailed and won moneys for the entire band -- and Ahern. 

                    In  fact,  the  attorney's   fees  were  not  the  only

          challenged deduction on the Scholz Statement.   There was lengthy

          testimony questioning and defending many of the other deductions,

          most notably the producer's fee and the more than 11,000 hours of

          studio time Scholz charged for.  Therefore, even if the jury felt

          the deduction of the attorney's fees -- or of some of them -- was

          appropriate, they  could still have reasonably  found that Scholz

          materially breached the FMA.  Between the additional evidence, on

          both  sides, as to whether  the legal fees  could be commercially

          reasonable recording expenses, whether the amount of fees charged

          were reasonable,  and whether  other deductions on  the Statement

          were reasonable,  we find  that Engel's challenged  testimony was

          not central to the case.

                    Second, the  evidence admitted  did not have  an unduly

          prejudicial  effect.  When called to the stand by his co-counsel,

          Engel was able to clarify that,  while he felt he was asked about

          "recording   costs,"  the   FMA  actually   addresses  "recording

          expenses":

                      Q.  Does the  -- The first question, does
                      the  further  modification  use the  term
                      "recording costs"?
                      A.    My  recollection  is,  the  [F]irst
                      Modification  Agreement   uses  the  term


                                         -31-














                      "recording  expenses."  I was asked about
                      recording costs.
                                         ***
                      Q.  Do  recording contracts use  the term
                      "recording   expenses"    or   "recording
                      costs"?
                      A.   I,  in all  the recording  contracts
                      I've  seen,  in  many of  them,  I  don't
                      remember  the  term "recording  expenses"
                      ever used, it's always  "recording costs"
                      that I've seen in the clause.

          (Day  13, pages 110-112).  He followed  up on this in his closing

          argument, stating  that "[q]uestions  were asked  about recording

          costs, but recording  costs is not  the word used [in  the FMA]."

          (Day 15,  page 18).   We find  that this additional  testimony by

          Engel counters the potential prejudicial effect of his challenged

          statement.   Scholz argues on appeal  that the prejudicial effect

          of  the  testimony was  compounded  by the  statement  of Ahern's

          counsel in his closing argument that 

                         there is no  testimony before  you,
                         ladies  and  gentlemen, that  legal
                         costs in litigation that Mr. Scholz
                         was in  is a  recording  cost.   In
                         fact,  to  the  contrary, the  only
                         testimony here has been  that legal
                         costs -- legal fees and legal costs
                         are not recording costs.
                         You    may    recall   Mr.    Engel
                         uncomfortably on the witness stand,
                         after  I  qualified   him  on   his
                         expertise in matters of  this sort,
                         acknowledging  that  this  was  the
                         case.  

          (Day 15, page 45).  However, between the totality of the evidence

          at trial  and the additional statements Engel  himself made, both

          as witness  and as counsel, we do not feel that this reference to

          Engel  in the hour spent  in closing argument  by Ahern's counsel



                                         -32-














          could  be found  to sway the  jury's decision,  prompting harmful

          error.  See Espeaignnette, 43 F.3d at 9.
                  ___ _____________

                    B.   The Omitted Testimony
                    B.   The Omitted Testimony
                         _____________________

                    Scholz contends that the district court made a separate

          harmful error in upholding the  objections made by Ahern's  trial

          counsel  when Engel's co-counsel called Engel to the stand on the

          thirteenth day of trial and tried to have him address his earlier

          testimony.  After stating  that the FMA used the  term "recording

          expenses," not  "recording costs," and reading  out the pertinent

          section of the FMA, Engel's testimony continued as follows:

                      Q. Have  you  seen  contracts using  only
                      [the]   words  "recording   costs"  where
                      artists were paid for legal fees?
                      A. Yes.
                      Q. As  an  expert, how  do  you interpret
                      recording  expenses as  it's used  in the
                      Further Modification Agreement?
                         MR. PHILLIPS:  Objection.
                         THE COURT:  Sustained.
                         THE WITNESS:  Your Honor, I was  asked
                      --
                         THE COURT:  Sustained.
                      Q. Does  the  language  in   the  Further
                      Modification Agreement --
                         THE  COURT:  He  asked you a question,
                      did you ever see  it before?  Your answer
                      was  no.   Now you're  saying --  I won't
                      allow any  questions as to where  you saw
                      it.
                         THE WITNESS:  He asked me, your Honor,
                      I remember the  exact question, because I
                      answered   it,   he   asked    me   about
                      interpreting recording costs.  Now, if he
                      can ask me to interpret --
                         MR PHILLIPS:  Objection, your Honor.
                         THE  COURT:     Sustained,  sustained.
                      Sustained.
                         THE WITNESS:  Well --
                         BY MR. PASSIN:
                      Q. Does the  -- Does the language  of the
                      Further  Modification   Agreement  affect


                                         -33-














                      other  deductions  you mentioned  in [the
                      Scholz Statements]?
                         MR. PHILLIPS:  Objection.  He's simply
                      interpreting the agreement.
                         THE COURT:  I'm going to sustain it.
                         THE WITNESS: Your Honor, could we have
                      a side bar, because I think --
                         THE COURT:  No. No.
                         Let's get going.

          (Day 13, pages 112-14).  

                    On  appeal, Scholz  argues that  the  court "apparently

          believed  that it  would be  too prejudicial  to Ahern  to permit

          Engel to explain his apparently adverse expert testimony but that

          it was not too prejudicial to  Scholz to permit Engel to  testify

          adversely to Scholz in the first place, a horrendous conclusion."

          (Appellant's Brief, page 34).  We disagree.  The first time Engel

          testified, he  was asked  about "contracts of  performing artists

          and  groups in the musical field."   (Day 7, page 71).  He stated

          in  the disputed  testimony that  he had  "never seen  legal fees

          designated  in  a  contract as  anything,  and  certainly not  as
                                      ____________

          recording costs."  (Day 7, page 73 (emphasis added)).   When next

          called to the  stand, Engel  agreed that he  had seen  "contracts
                                                       ___

          using only [the] words 'recording costs' where artists were  paid

          for legal  fees."  (Day 13,  page 112).  The  court's decision to

          sustain  the objection  made  by Ahern's  counsel in  the ensuing

          dialogue was not a refusal to allow Engel to explain his evidence

          on  the basis of  its prejudicial effect  against Ahern:   it was

          evidently a reaction to  the apparent inconsistency between these

          statements.




                                         -34-














                    Essentially,  on appeal  Scholz maintains  that Engel's

          co-counsel was not allowed to  "cross-examine" him on the subject

          of his  direct testimony for  Ahern, thereby precluding  him from

          presenting clarifying  evidence or diminishing the  "sting" of an

          attorney  testifying   against  his  own  client.     This  error

          compounded the  error  of  admitting  Engel's  expert  testimony,

          Scholz  contends.    He complains  that  because  of the  court's

          ruling,  the jury never  got to hear  Engel's testimony regarding

          other types  of contracts, such as  agreements between performers

          and  managers, or  the difference  between "recording  costs" and

          "recording expenses."  Nor did they hear his explanation that his

          answer  might  differ  if  asked  about  "commercially reasonable

          recording expenses," not  "recording costs," he  notes.  We  view

          this  final protest with  some skepticism,  however, in  light of

          Engel's  testimony on the stand that he had never seen legal fees

          designated   "as  anything,"  which  would,  presumably,  include

          commercially reasonable recording expenses.  

                    Assuming, arguendo,  that  Engel would  have  made  the
                              ________

          above testimony and  that the district  court erred in  excluding

          the  line  of  questioning,  any resulting  error  was  harmless.

          First, for the same reasons outlined above, the  testimony, while

          related to a  central issue, was  not central  in and of  itself.

          Ames  and  Levy  stated  that  they  saw  no  difference  between

          "recording costs" and "recording expenses."  Additional testimony

          debated  the total amount  of fees charged as  well as many other

          aspects  of  the   Scholz  Statement.    As  for   the  potential


                                         -35-














          prejudicial effect, the testimony Engel was able to give,  quoted

          above, made it clear  that his earlier statement was  directed to

          "recording  costs,"  not  "recording  expenses," an  argument  he

          reiterated in his closing, mitigating the potential effect of the

          apparent inconsistency.   Additionally,  during his first  day on

          the stand  Engel stated,  in response  to  questioning about  the

          actual charging  of recording costs or  expenses by a  group or a

          performing artist, that although he reviews accountings after the

          fact, he has never  reviewed an accounting like that  provided in

          the Scholz Statement.   He  testified that "[t]his  is a  special

          case.  I  don't remember  any accounting that  really falls  into

          this category.   This is not a standard contract."   (Day 7, page

          81).   While this  testimony does  not go  directly to his  prior

          statements,  it does  emphasize that  the FMA  is not  a standard

          contract, implying  that his  and others' statements  about other

          contracts may not be pertinent.   Weighing the above in the light

          of the record as a  whole, see Doty, 908 F.2d at  1057, we cannot
                                     ___ ____

          say that  the court's  evidentiary ruling excluded  evidence that

          was  either central  or prejudicial  in its  effect such  that it

          could have swayed the  factfinders' decision.  Thus, even  if the

          court erred, it did not rise to the level  of harmful error.  See
                                                                        ___

          Lubanski, 929 F.2d at 46.
          ________

                    C.  The Overall Impact of Engel's Testimony
                    C.  The Overall Impact of Engel's Testimony
                        _______________________________________

                    Of course, it is not just the impact of the information

          elicited  from  Engel that  we must  evaluate under  the harmless

          error standard.   We must also address the  potential prejudicial


                                         -36-














          effect on the  jury of  seeing Engel, Scholz'  counsel, take  the

          stand,  dispute with  the  court and  opposing  counsel over  his

          testimony, and finally make a  statement, apparently unwillingly,

          against his client's  interest -- a  statement against which,  he

          argues, he had to take an apparently inconsistent position in his

          closing argument.   There is no  doubt in our mind  that this had

          some  prejudicial effect on the jury.  Nonetheless, we cannot say

          with   "'fair  assurance  .  .   .  that  the   judgment  was  []

          substantially swayed by the error.'"  Espeaignnette, 43 F.3d at 9
                                                _____________

          (quoting Lubanski, 929 F.2d at 46).  The jury sat through fifteen
                   ________

          days   of  trial,  received   substantial  and  often  cumulative

          testimony  on  all  points,13  and  heard  an  hour   of  closing

          argument from each party's  counsel.  We find it  highly unlikely

          that  the  verdict  could  have   been  the  result  of   Engel's

          questioning and the attendant  commentary.  Cf. United States  v.
                                                      ___ _____________

          Rosales,  19  F.3d  763,  768  (1st   Cir.  1994)  (holding  that
          _______

          prosecutor's inappropriate argument  in closing  did not  warrant

          new trial under harmless error standard).
                              
          ____________________

          13   Indeed, the  evidence was  so redundant  that the  court was
          prompted to exclaim that

                         in all  my years, I have never seen
                         a  case in  which the  same matters
                         have come  up so  many times.   The
                         accumulation  of  evidence in  this
                         case  is really  burdensome. .  . .
                         I'm telling you, I've told you many
                         times, I don't know how much longer
                         I can take cumulative evidence.

          (Day 13, pages 89-90).



                                         -37-














                    There are significant reasons  why trial counsel should

          not  be  able to  testify at  trial,  no matter  for  which party

          counsel testifies. 

                         The        principal        ethical
                         considerations    to    a    lawyer
                         testifying on behalf of  his client
                         regarding contested issues are that
                         the   client's    case   will   "be
                         presented through  the testimony of
                         an obviously interested witness who
                         is subject to  impeachment on  that
                         account; and that the  advocate is,
                         in  effect,  put  in  the  unseemly
                         position   of   arguing   his   own
                         credibility."

          Siguel v. Allstate  Life Ins. Co., 141 F.R.D. 393,  396 (D. Mass.
          ______    _______________________

          1992)   (quoting   ABA   Comm.   on   Ethics   and   Professional

          Responsibility,  Formal Op. 339 (1975)).  "Combining the roles of

          advocate and  witness can  prejudice the  opposing party  and can

          involve a conflict of interest between lawyer and client."  Model

          Rules of Professional Conduct Rule 3.7 cmt. 1.  When the attorney

          is called to the stand by his client's opponent, the concerns are

          just as substantial, if not more.  See Siguel, 141  F.R.D. at 396
                                             ___ ______

          ("Although there are degrees of adverse testimony, there are few,

          if  any,   situations  that   justify  acceptance   or  continued

          employment in  this circumstance.").  Accordingly,  Model Rule of

          Professional  Conduct 3.7 states that  a lawyer shall  not act as

          advocate  at a trial where he or she  is likely to be a necessary

          witness, except, among other  things, where the testimony relates

          to an uncontested issue or disqualification of the attorney would

          work  substantial hardship on the client.  Finally, there is also

          the danger that  the performance of the dual roles of counsel and

                                         -38-














          witness will create  confusion on the jury's part  as to when the

          attorney is  speaking as a  witness, "raising the  possibility of

          the  trier  according  testimonial  credit  to  the  prosecutor's

          closing  argument," United States v.  Johnston, 690 F.2d 638, 643
                              _____________     ________

          (7th Cir. 1982) --  or, conversely, weighing the testimony  as if

          it were argument. 

                    All these concerns  clearly come  into play  at a  more

          heightened  level when trial counsel acts as an expert.  However,

          when counsel  is asked to  play that role  for the length  of one

          question in a fifteen-day trial, even acknowledging the impact of

          the attendant discussion with the  court, attempts to examine him

          on the testimony and  references to it in the  closing arguments,

          we  cannot  hold that  it rises  to  the level  of  harmful error

          affecting  a party's  substantial  right where  the testimony  is

          cumulative and  not a central  part of the  case.  Any  prejudice

          that resulted from the  objected-to portions of Engel's testimony

          did not rise to the level of harmful error.  

                    D.   Denial of Pre-Trial Motion for Continuance
                    D.   Denial of Pre-Trial Motion for Continuance
                         __________________________________________

                    Prior  to trial,  Ahern  filed two  motions seeking  to

          disqualify Engel as Scholz' counsel on the grounds that Engel was

          a  percipient witness  who  ought to  testify on  Scholz' behalf.

          Scholz  opposed, and  the district  court refused,  both motions.

          When  the  parties  presented  their lists  of  witnesses,  Engel

          appeared on  both parties' lists.  Approximately six weeks before

          trial  was  scheduled to  begin, Ahern  filed  a third  motion to

          disqualify.   This  time Scholz  agreed  to withdraw  his counsel


                                         -39-














          provided that he was given time to find new lead counsel.  In his

          memorandum in support of  his motion, Scholz stated that  he "now

          [felt] he must retain new trial counsel in  this matter, to avoid

          the risk of a  disqualification of his counsel just  prior to the

          trial, and for other reasons."  (Scholz' Memorandum in Support of

          His  Motion  to Continue  Trial, page  3).   The  district court,

          however,  denied both  Ahern's Renewed  Motion to  Disqualify and

          Scholz' Motion to Continue Trial.  

                    As discussed  above, Scholz  maintains in his  brief on

          appeal that the  trial court erred by allowing Ahern to use Engel

          as his own expert against Scholz.  One of the four contentions he

          uses to support this position is that 

                         the   trial  court   itself  placed
                         Scholz     in    his     precarious
                         predicament  when   it  refused  to
                         grant the last  motion by Ahern  to
                         disqualify  Engel  .   .  .  .  The
                         failure  to  grant the  continuance
                         under  these  circumstances,  which
                         resulted  in  severe  prejudice  to
                         Scholz,   is,  itself,   reversible
                         error.

          (Appellant's Brief,  page  34).   In  support of  his  statement,

          Scholz cites  several cases weighing district  court decisions on

          motions  for continuances.  See Lowe v. City of East Chicago, 897
                                      ___ ____    ____________________

          F.2d 272, 274-75 (7th Cir. 1990) (concluding that it was an abuse

          of discretion to deny motion  for continuance where plaintiff was

          faced with choice between voluntary dismissal and going to  trial

          although  his attorney was not ready for trial); United States v.
                                                           _____________

          Flynt,  756 F.2d 1352, 1358-59 (9th  Cir.) (finding that district
          _____

          court  abused its  discretion in  denying motion  for continuance

                                         -40-














          where doing so effectively foreclosed defendant from presenting a

          defense), amended, 764  F.2d 675  (9th Cir. 1985).   We need  not
                    _______

          prolong our discussion.  Simply put, we do  not feel the district

          court  abused  its   discretion  in  denying  the  motion  for  a

          continuance.  Even if it did, the error was harmless.

                    Finally, we note that while we ultimately hold that the

          court  did  not commit  harmful error  in making  its evidentiary

          ruling, we find  it very disturbing that trial  counsel testified

          in  this case.   In  making his  appeal, Scholz  directs us  to a

          series of cases, several of which are referenced above, which lay

          out the real and serious  concerns implicated by allowing counsel

          to testify at trial.  See,  e.g., United States v. Dack, 747 F.2d
                                ___   ____  _____________    ____

          1172,  1172  n.5 (7th  Cir.  1984)  ("Where  evidence  is  easily

          available   from   other   sources   and   absent  'extraordinary

          circumstances'   or  'compelling   reasons,'   an  attorney   who

          participates  in the case should  not be called  as a witness.").

          We ask whether  Scholz and  his counsel read  these cases  before

          opposing Ahern's first  two motions to disqualify.   The concerns

          the cases voice are implicated whether counsel testifies for  his

          or her own client or for the opposing party.  What is  more, even

          if Engel  testified solely as  to ministerial  matters, we  still

          doubt  the wisdom of allowing him on  the stand, as the matter of

          his firm's  legal fees -- not only whether, as a whole, they were

          commercially reasonable recording expenses but  also whether they

          were reasonable  at all -- was  a matter of testimony.   The jury

          heard  deposition testimony  from  Ahern's expert  Levy that  the


                                         -41-














          legal fees  from the  CBS  litigation were,  among other  things,

          "excessive and  totally inappropriate" (Day 7,  page 86); whether

          Engel  was called to  the stand by Scholz  or Ahern, indeed, even

          had he  never testified,  his integrity  and judgment could  have

          been questioned by the factfinders.  

              COUNTERCLAIM FOR FRAUD AND DECEIT AND AFFIRMATIVE DEFENSES
              COUNTERCLAIM FOR FRAUD AND DECEIT AND AFFIRMATIVE DEFENSES

                    The  Further Modification Agreement provided that Ahern

          was entitled to  a share of the royalties of  any album completed

          before  October  24,  1984.   Had  the  parties  adhered to  this

          provision, Ahern would  not be  entitled to any  moneys from  the

          third  album,  as it  was completed  after  that date.   Instead,

          Scholz  waived   the  deadline,  conveying   his  waiver  through

          communications between the parties' attorneys in May of 1984.  In

          this  action, Scholz drew  on his waiver  of the  deadline in his

          third  counterclaim and  several of  his affirmative  defenses to

          argue  for rescission of the  waiver agreement on  the grounds of

          fraud and deceit and, alternatively, its invalidation.  On appeal

          before  us,  he appeals  the  district  court's directed  verdict

          against him on these claims.

                    Our standard of review is a familiar one.  A motion for

          judgment  as a  matter of  law "should  be granted only  when the

          evidence, and the inferences to be drawn therefrom, viewed in the

          light most favorable to the nonmovant . . . could lead reasonable

          persons  to but  one conclusion."   MacQuarrie,  877 F.2d  at 128
                                              __________

          (quoting  Dopico-Fern ndez v. Grand  Union Supermarket,  841 F.2d
                    ________________    ________________________

          11, 12 (1st Cir.), cert. denied, 488 U.S. 864 (1988)).  We review
                             ____________


                                         -42-














          the district court's directed  verdict de novo.  See  Fleet Nat'l
                                                 _______   ___  ___________

          Bank,  45 F.3d at 552.  Accordingly,  "'we use the same stringent
          ____

          decisional   standards  that   control   the  district   court.'"

          Gallagher v. Wilton  Enter., Inc.,  962 F.2d 120,  125 (1st  Cir.
          _________    ____________________

          1992)  (quoting Hendricks &amp;  Assocs., Inc.  v. Daewoo  Corp., 923
                          __________________________     _____________

          F.2d 209, 215 (1st Cir. 1991)).  

                    A.   Rescission
                    A.   Rescission
                         __________

                    In   his   Third   Affirmative   Defense    and   Third

          Counterclaim, Scholz  sought recision of the  waiver agreement on

          the grounds that Ahern fraudulently induced him to enter into the

          agreement by not disclosing that he had neither accounted for nor

          paid, since at least 1981, the royalties he owed Scholz under the

          FMA.  Under New York law, applied here pursuant to the FMA choice

          of law provision, a party seeking to prove  common law fraud must

          show that:

                         (1)  the  [cross-]defendant made  a
                         material false  representation, (2)
                         the [cross-]  defendant intended to
                         defraud   the   [cross-]  plaintiff
                         thereby, (3) the [cross-] plaintiff
                         reasonably    relied    upon    the
                         representation, and (4) the [cross-
                         ]plaintiff  suffered  damage  as  a
                         result of such reliance.

          Banque Arabe et Internationale D'Investissement v. Maryland Nat'l
          _______________________________________________    ______________

          Bank,  57 F.3d  146, 153  (2d Cir.  1995) (analyzing  elements in
          ____

          context of claim for rescission based on fraud); see also Keywell
                                                           ________ _______

          Corp. v. Weinstein,  33 F.3d 159, 163 (2d Cir.  1994).  The first
          _____    _________

          element may be met by demonstrating not only a misrepresentation,

          but  also a concealment or nondisclosure of a material fact.  See
                                                                        ___


                                         -43-














          Allen v.  Westpoint-Pepperell, Inc.,  945  F.2d 40,  44 (2d  Cir.
          _____     _________________________

          1991);  Bickhardt v.  Ratner,  871 F.  Supp.  613, 618  (S.D.N.Y.
                  _________     ______

          1994).   In addition,  the party claiming  fraudulent concealment

          must demonstrate that the  opposing party had a duty  to disclose

          the material information in question and demonstrate each element

          of the claim by clear and convincing evidence.   See Banque Arabe
                                                           ___ ____________

          et Internationale,  57 F.3d  at 153.   We begin  our analysis  by
          _________________

          weighing  what duty  Ahern  owed Scholz,  and  then turn  to  the

          elements listed  above, ultimately  concluding that  the district

          court erred in directing a verdict.

                    In  the instant  case,  Scholz argues  that Ahern  owed

          Scholz a duty to disclose because  he was a fiduciary.  See Brass
                                                                  ___ _____

          v. American Film Techs., 987 F.2d 142, 150 (2d Cir. 1993).  Ahern
             ____________________

          contests that at the time  the waiver was given in May  1984, the

          Management Agreement had terminated and so there was no fiduciary

          duty  and, thus,  no duty to  disclose.   "Under New  York law, a

          fiduciary   relationship   includes  'both   technical  fiduciary

          relations and  those informal relations which  exist whenever one

          [person] trusts  in, and relies upon, another.'"  Allen, 945 F.2d
                                                            _____

          at 45 (quoting Penato  v. George, 383 N.Y.S.2d 900,  904-05 (N.Y.
                         ______     ______

          App. Div.  1976)); see Apple  Records, Inc.  v. Capitol  Records,
                             ___ ____________________     _________________

          Inc.,  529 N.Y.S.2d 279, 283  (N.Y. App. Div.  1988) (noting that
          ____

          fiduciary  relationship can  be  found between  close friends  or

          where confidence  is based upon  prior business dealings).   "New

          York courts typically  focus on  whether one  person has  reposed

          trust  or confidence  in another  who  thereby gains  a resulting


                                         -44-














          superiority  or influence over the first."  Litton Inds., Inc. v.
                                                      __________________

          Lehman  Bros. Kuhn Loeb Inc.,  767 F. Supp.  1220, 1231 (S.D.N.Y.
          ____________________________

          1991), rev'd on other grounds, 967 F.2d 742 (2d Cir. 1992). 
                 ______________________

                    Scholz points us to the decision in Apple Records, Inc.
                                                        ___________________

          v. Capitol Records, Inc., where the court  found that plaintiffs,
             _____________________

          the New  York corporation of  the Beatles, stated a  claim that a

          fiduciary relationship existed. 

                         The   business   dealings   between
                         Capitol  Records  and  the  Beatles
                         date back  to 1962, when  the still
                         unacclaimed Beatles entrusted their
                         musical   talents   to    defendant
                         Capitol  records.    It is  alleged
                         that  this  relationship proved  so
                         profitable to defendant that at one
                         point the Beatles constituted 25 to
                         30  percent of its  business.  Even
                         after  the  Beatles attained  their
                         remarkable degree of popularity and
                         success,  they  still continued  to
                         rely  on  Capitol  Records for  the
                         manufacture  and   distributing  of
                         their  recordings.  It  can be said
                         that  from  such  a  long  enduring
                         relationship  was  borne a  special
                         relationship    of     trust    and
                         confidence,   one   which   existed
                         independent   of  the   contractual
                         duties,  and  one which  plaintiffs
                         argue was betrayed by fraud . . . .

          529 N.Y.S.2d at 283.   Like the parties in Apple Records,  at the
                                                     _____________

          time of the waiver in 1984 Ahern and Scholz had a long history of

          business  dealings,   marked  by  a  series   of  agreements  and

          modification agreements.  Also as in that  case, the relationship

          between  the  parties  here  was  a  profitable  one  for  Ahern.

          However, unlike that case,  Ahern no longer, as of  several years

          previously, was  Scholz' manager.  Indeed,  Scholz testified that


                                         -45-














          in 1978, when he first started the process that culminated in the

          FMA,  he was no longer on speaking terms with Ahern.  While we do

          not doubt  -- and  Ahern admitted  at trial --  that Ahern  had a

          fiduciary duty to Scholz until 1981, the question remains whether

          there  was such a  special relationship  of trust  and confidence

          between the  parties at the  time of the waiver  that a fiduciary

          relationship, at least  as regards  Ahern's duty  to pay  Scholz'

          share  of  the  royalties  from  the  first  and  second  albums,

          remained.    Since a  reasonable juror  could  find that  it did,

          however, a  directed verdict is inappropriate on  the question of

          whether  Ahern  owed Scholz  a  fiduciary  duty.   Therefore,  we

          continue our analysis and  turn to the evidence presented  on the

          elements listed above.

                    First, as for the  material false misrepresentation  or

          nondisclosure, it is undisputed  that Ahern did not disclose  his

          failure to pay, a fact which a reasonable juror could easily find

          material.    On the  other hand,  both  Ahern and  Barbara Sherry

          ("Sherry"),  who provided business  management services for Ahern

          and BOSTON while Ames served as their business manager and served

          as  Ahern's business  manager from  1982 up  through the  time of

          trial,  testified that they were  not aware money  was owed until

          after the waiver  was made, and Scholz  points to no evidence  of

          concealment.   Second,  Scholz would  have us  read an  intent to

          deceive into Sherry's  testimony agreeing with Engel's  statement

          that  today,  looking at  a  royalty statement  from  the company

          charged with  administrating  the publishing,  "it's  immediately


                                         -46-














          plain to anyone who knows this business, that [the administration

          company] was not paying"  the proper percentage to Scholz.   (Day

          6, pages 61-62).  Scholz cannot rely on this as an admission that

          Sherry knew  Scholz was  not receiving  all his moneys,  however,

          since  her actual  testimony was  that she  did not  know of  the

          failure at the time.  Instead, he seeks to build on her admission

          that one could have known from the face of the royalty statements

          that there was an error,  as well as the  fact that there was  no

          evidence that letters of direction  were prepared for the foreign

          sub-publishers, to support his contention that Ahern "had to have

          known" he was  not making all his  payments.  Ahern presented  no

          evidence  indicating that he could  not have known  of the error,

          just that he did not.  In essence, therefore, determining whether

          Ahern intended to deceive Scholz becomes an issue of credibility,

          one which of necessity is a question for the jury.

                    As  for whether  Scholz  reasonably  relied on  Ahern's

          nondisclosure,  his case is damaged by the fact that the evidence

          is undisputed  that Ahern  did not  actually solicit  the waiver.

          Scholz'  attorney contacted  his counsel and  offered it  to him.

          Scholz explained his motivation at trial:

                      A.   Well, I figured if  I, if I finished
                      the record six months later and  I missed
                      that date that Paul Ahern was entitled to
                      his  12  percent  of the  royalties,  you
                      know,  I missed  that date  and then  six
                      months  later delivered the record, I was
                      sure he would  be upset  about that  and,
                      and  want his  12 percent  anyway,  and I
                      didn't want to fight with him.
                      Q.   And  was it  your intention  at that
                      time --
                      A.  I had enough trouble at that point.

                                         -47-














                      Q.    And did  you  ask  for anything  in
                      return for that waiver?
                      A.  No.

          (Day 10, pages 38-39).   However, Scholz points to  his testimony

          at  trial that he "obviously" would not have agreed to the waiver

          had he known of  Ahern's failure to pay him  publishing royalties

          as evidence  of his reliance.   Giving Scholz the  benefit of all

          the  inferences,  a  reasonable  juror  could  find  under  these

          circumstances  that   Ahern  sought  to  induce   Scholz  into  a

          fraudulent agreement,  once it had  been offered to  him, through

          nondisclosure of his  failure to pay.  The presence of the fourth

          element, damages, Scholz contends, is  witnessed by the fact that

          he now owes  Ahern money:  had he not  waived the deadline, Ahern

          would not have been  entitled to royalties from the  third album.

          Given  all of  the  above,  we  find  that  Scholz  has  mustered

          sufficient evidence for the issue to go to the jury.  

                    B.   Invalidation of the Waiver
                    B.   Invalidation of the Waiver
                         __________________________

                    In his Fourth  and Fifth  Affirmative Defenses,  Scholz

          argues that the waiver  should be invalidated because he  did not

          knowingly give his  consent.  He maintains here that  in order to

          prevail, all  he must prove is  that he would not  have agreed to

          the waiver if  he had known of Ahern's failure  to account to and

          pay him royalties.  Since he testified to that effect, he argues,

          the  district court  erred in  granting a  directed verdict.   We

          disagree.  First, we note that  none of the cases Scholz looks to

          for support discuss invalidation  as an affirmative defense under

          Federal  Rule of  Civil Procedure  8(c).   Although the  case law


                                         -48-














          indicates  that  there  is  precedent  for  such  an  affirmative

          defense, see, e.g., Unites  States v. Krieger, 773 F.  Supp. 580,
                   ___  ____  ______________    _______

          583  (S.D.N.Y. 1991)  (denying summary  judgment on,  inter alia,
                                                                _____ ____

          claim for invalidity of guarantees despite failure to claim it as

          an affirmative defense), we have found, and  the parties present,

          no  comprehensive discussion  of its  nature.   See 2A  James Wm.
                                                          ___

          Moore  et al.,  Moore's Federal  Practice    8.27[4] n.6  (2d ed.
                          _________________________

          1995)  (listing  most  common  affirmative   defenses,  excluding

          invalidity).  

                    We find no  other support for  Scholz' position in  the

          cases he cites.   Allen, which  he looks  to for the  proposition
                            _____

          that all he  has to prove is that he would not have agreed to the

          waiver,  does  not address  invalidity  of a  waiver  or release.

          Rather,  it notes that  a court may rescind  a release "'where it
                                              _______

          finds  either mutual  mistake or  one party's  unilateral mistake

          coupled  with some fraud . . . of  the other party.'"  Allen, 945
                                                                 _____

          F.2d  at 44 (quoting National Union  Fire Ins. Co. v. Walton Ins.
                               _____________________________    ___________

          Ltd.,  696 F.  Supp. 897, 902  (S.D.N.Y. 1988)).   Scholz did not
          ____

          plead  mutual mistake, and his rescission claim based on fraud is

          addressed above.  

                    Scholz  states that he does not have to show Ahern owed

          him a fiduciary duty in order to  state a claim for invalidation.

          Indeed,  the  court  in Allen  notes  that  where  one party  has
                                  _____

          superior  knowledge not available to  the other party,  a duty to

          disclose may arise, apparently exclusive of a fiduciary duty, id.
                                                                        ___

          at 45,  but Scholz does not  point to any evidence  that he could


                                         -49-














          not have  discovered that  Ahern had not  been paying  him.   His

          reliance  on Gishen v. Dura Corp., 362  Mass. 177, 285 N.E.2d 117
                       ______    __________

          (Mass.  1972), apparently  for  the proposition  that "[a]  party

          cannot waive information  with respect to an error in calculation

          whose  existence  is  unknown  to  him,  particularly  where  his

          ignorance  is caused by the  very lack of  disclosure in question

          and where the parties are not fully at arm's length," id. at 122,
                                                                ___

          is misplaced.   First and most importantly, under  the choice-of-

          law provision of the FMA, the parties here are applying New York,

          not Massachusetts,  law.  Second, the Gishen  opinion addressed a
                                                ______

          request  for  a jury  instruction  on  waiver, which  was  denied

          because  the party had not previously  presented the argument; it

          does not involve an affirmative defense.  Id. at 121.  The quoted
                                                    ___

          language  is dicta --  and seems to  undercut Scholz' proposition

          that a fiduciary relationship is not necessary.

                    Scholz' citation to Werking v. Amity Estates, Inc., 137
                                        _______    ___________________

          N.E.2d 321 (N.Y. 1956), also proves unfruitful.  There, the court

          defines a waiver  as "'the intentional relinquishment  of a known

          right  with both knowledge of  its existence and  an intention to

          relinquish  it.'"  Id. at  327 (quoting Whitney  on Contracts 273
                             ___

          (4th  ed. 1946)).   The  court found  the waiver in  question, of

          jurisdictional defects in a tax sale of plaintiff's farm, invalid

          because  plaintiff "had no knowledge  of the right  he is charged

          with  having  knowingly  and  intentionally relinquished."    Id.
                                                                        ___

          Here,   however,  Scholz   knew   exactly  what   right  he   was




                                         -50-














          relinquishing:   the right  not to pay  Ahern 12  percent of  the

          royalties from the third album.  

                               MASSACHUSETTS LAW CLAIMS
                               MASSACHUSETTS LAW CLAIMS

                    We  next turn  to  Ahern's claim  against Scholz  under

          Massachusetts  General  Law  Chapter   93A,  sections  2  and  11

          ("Chapter 93A").  The  district court found that Scholz'  failure

          to pay royalties  as provided  in the FMA  violated Chapter  93A.

          More specifically,  it held  that the Scholz  Statement regarding

          the  royalties  on the  third  album  constituted an  unfair  and

          deceptive business practice,  and that it  was a "deliberate  and

          blatant attempt  to deprive Plaintiff Ahern  of moneys rightfully

          due and owing  to him."   (District Court  Memorandum and  Order,

          page 3).   The  court awarded  Ahern $547,000  as well as  costs,

          interest, and reasonable attorney's fees.  

                    Scholz now contends that his actions do not rise to the

          level of unfair or  deceptive trade practices within  the meaning

          of Chapter  93A.  Section 11  of Chapter 93A provides  a cause of

          action to 

                         [a]ny  person  who  engages in  the
                         conduct  of  any trade  or commerce
                         and  who suffers any  loss of money
                         or property, real or personal, as a
                         result of the  use or employment of
                         another person who  engages in  any
                         trade  or  commerce  of .  .  .  an
                         unfair or deceptive act or practice
                         . . . .

          Mass. Gen.  L. ch. 93A,    11.14   We begin with  our standard of
                              
          ____________________

          14  Section  2, which is also referred to  in the current action,
          establishes that  "[u]nfair methods of competition  and unfair or
          deceptive  acts or  practices  in the  conduct  of any  trade  or

                                         -51-














          review;  once it is established, we address Scholz' attack on the

          sufficiency of the district  court's findings, and his contention

          that  his acts did  not rise to  the level  of "rascality" courts

          require of Chapter  93A violations.   See Quaker  State Oil  Ref.
                                                ___ _______________________

          Corp. v.  Garrity Oil Co., 884  F.2d 1510, 1513 (1st  Cir. 1989).
          _____     _______________

          Because we ultimately  find that  the district court  erred as  a

          matter of law  in finding  that Scholz violated  Chapter 93A,  we

          need not address the defenses Scholz raises to the application of

          that Chapter.

                    A.  Standard of Review
                    A.  Standard of Review
                        __________________

                    We review the district court's findings of law de novo,
                                                                   _______

          and only set aside  its findings of fact if  "clearly erroneous."

          See  Industrial Gen. Corp. v. Sequoia Pacific Sys. Corp., 44 F.3d
          __________________________    __________________________

          40, 43 (1st Cir. 1995); see, e.g., Pepsi-Cola Metro. Bottling Co.
                                  ___  ____  ______________________________

          v. Checkers, Inc.,  754 F.2d 10, 17 (1st Cir.  1985).  "A finding
             ______________

          of fact is '"clearly  erroneous" when although there  is evidence

          to support it, the reviewing court on the entire evidence is left

          with the definite  and firm  conviction that a  mistake has  been

          committed.'"  Industrial Gen., 44 F.3d at 43 (quoting Anderson v.
                        _______________                         ________

          City  of  Bessemer  City,  470 U.S.  564,  573  (1985)  (citation
          ________________________

          omitted)).   "Although whether a particular set of acts, in their

          factual  setting, is unfair or  deceptive is a  question of fact,

          the  boundaries  of  what  may  qualify  for consideration  as  a

          [Chapter] 93A violation  is a  question of law."   Schwanbeck  v.
                                                             __________


                              
          ____________________

          commerce" are unlawful.  Mass. Gen. L. ch. 93A,   2.

                                         -52-














          Federal-Mogul Corp.,  578 N.E.2d 789, 803 (Mass.  1991), rev'd on
          ___________________                                      ________

          other grounds, 592 N.E.2d 1289 (Mass. 1992).
          _____________

                    B.  The District Court's Findings
                    B.  The District Court's Findings
                        _____________________________

                    The district court determined that Scholz  had violated

          sections 2 and 11 through his failure to pay Ahern royalties from

          the  third   album,  and  made  the  following  findings  in  its

          Memorandum and  Order.  First, it found that Scholz agreed to pay

          Ahern  royalties after deduction of only a producer's royalty and

          all  commercially reasonable  recording  expenses.   Second,  the

          court held that  the Scholz Statement  constituted an unfair  and

          deceptive business  practice.   More specifically, it  found that

          the  deductions taken for legal fees,  payment to Jeff Dorenfeld,

          time  spent in the studio, and the resulting recording costs were

          all not commercially reasonable  recording expenses.  Rather, the

          court   stated,  $500,000   in   recording   expenses  would   be

          commercially reasonable.   It  next found that  Scholz' Statement

          was

                         a deliberate and blatant attempt to
                         deprive  the   Plaintiff  Ahern  of
                         monies rightfully due and  owing to
                         him as royalties  from the sales of
                         the  third  Boston  album.     Such
                         egregious conduct . . . is patently
                         an  unfair and  deceptive practice.
                         The   submission  of   [the  Scholz
                         Statement]  as   an  accounting  by
                         Scholz  to  Ahern  is   a  shocking
                         display  of  arrogant  disdain  for
                         Ahern's contractual  rights and was
                         rendered in obvious bad faith.  

          (District Court Memorandum and Order, page 3).  




                                         -53-














                    Scholz  challenges the  sufficiency of  these findings.

          Federal Rule of Civil Procedure  52(a) mandates that courts "find

          the facts  specially and state separately  [their] conclusions of

          law  thereon" when  trying  facts without  a  jury.   See,  e.g.,
                                                                ___   ____

          Monta ez  v.  Bagg, 510  N.E.2d 298,  300  (Mass. App.  Ct. 1987)
          ________      ____

          (noting  that judge  did  not  make  detailed  findings  of  fact

          regarding  Chapter 93A  claims under  Mass. R.  Civ. P.  52(a)). 

          Scholz notes that  the court  did not state  that the  deductions

          were actually deceptive, and reminds us that the Scholz Statement

          set forth in some detail what each of the deductions were.  Since

          the court did  not make more  specific findings  as to unfair  or

          deceptive practices, he maintains,  we should reverse the Chapter

          93A finding against  him.15   See Schwanbeck, 578  N.E.2d at  803
                                        ___ __________

          (holding  that district  court finding  of Chapter  93A violation

          lacked foundation in the court's subsidiary findings).

                    However, we  remind Scholz  that under Rule  52(a) "the

          judge  need  only make  brief,  definite  pertinent findings  and

          conclusions on the  contested matters."  Makuc  v. American Honda
                                                   _____     ______________

          Motor Co., 835 F.2d 389, 394 (1st Cir. 1987).  Here, the district
          _________

          court  found that  Scholz  breached the  FMA,  that four  of  his

          deductions were commercially unreasonable, while a figure of $0.5

          million would be reasonable; and that the Scholz Statement was "a

                              
          ____________________

          15  We  note that, contrary to Scholz' position,  were we to find
          that  the district court did  not lay out  sufficient findings of
          fact, we would likely remand  so that the lower court could  make
          subsidiary findings of fact and enter a new judgment on the basis
          of its findings.  See, e.g., Sidney Binder, Inc. v. Jewelers Mut.
                            ___  ____  ___________________    _____________
          Ins. Co., 552 N.E.2d 568, 572 (Mass. App. Ct. 1990).
          ________

                                         -54-














          deliberate and  blatant attempt to deprive" Ahern  of moneys owed

          him.   It is  a question of  law whether this  attempt to deprive

          Ahern rises  to the level of  a violation of Chapter  93A, as the

          lower  court held, and we believe the decision includes enough of

          a basis  for the Chapter  93A finding  to save the  decision from

          remand.   The district court has  provided us with more than mere

          conclusions.  See Sidney Binder, Inc., 552 N.E.2d at 572 (holding
                        ___ ___________________

          that  explanatory  findings  were necessary  where  court  merely

          recited the  evidence without making findings  and concluded that

          "neither party ha[d] sustained its burden of proof" that  Chapter

          93A had been  violated).  We note,  however, that our task  would

          have been much simpler in this and other issues had the  district

          court seen fit to explicate more of its decision-making on paper.

          There is a gap between  finding that deductions are  commercially

          unreasonable  and finding that the Scholz Statement as a whole is

          an attempt to deprive  Ahern deserving of the  modifiers "unfair"

          and "deceptive":  while we are willing to follow  the lower court

          across the distance between  them, a bridge would have  been more

          than welcome.

                    C.  Scholz' Challenge to the Chapter 93A Findings
                    C.  Scholz' Challenge to the Chapter 93A Findings
                        _____________________________________________

                    Having  set  forth  our  standard  of  review  and  the

          findings of the district  court, we turn to the heart  of Scholz'

          challenge to the  Chapter 93A award.  As  noted above, whether an

          act was unfair and/or deceptive is  a question of fact.  Based on

          our  review of the evidence, we do  not hesitate to find that the

          district  court's findings of fact are not clearly erroneous, and


                                         -55-














          we will  not disturb  them.16  See  United Truck  Leasing Co.  v.
                                         ___  _________________________

          Geltman,  533 N.E.2d 647, 653  (Mass. App. Ct.  1989), aff'd, 551
          _______                                                _____

          N.E.2d 20 (Mass. 1990).  Thus, we assess  the lower court's award

          under  Chapter  93A  in  the  light  of  its  finding  that  four

          deductions -- which totalled $4.2 million -- were not reasonable,

          but $0.5  million  would  be  commercially  reasonable  recording

          costs,  and that the Scholz Statement was a deliberate attempt to

          deprive Ahern of his  percentage of the royalties from  the third

          album.   We ask now  whether these facts rise  to the level  of a

          violation of Chapter 93A, section 11.

                    There  is   no   clear  definition   of  what   conduct

          constitutes an "unfair or deceptive" act.  Mass. Gen. L. ch. 93A,

            11.  The Massachusetts courts "have noted, however, that '[t]he

          statute  "does  not contemplate  an  overly  precise standard  of

          ethical  or moral behavior.  It is the standard of the commercial

          marketplace."'"  Shepard's  Pharmacy, Inc. v.  Stop &amp; Shop  Cos.,
                           _________________________     _________________

          640 N.E.2d 1112, 1115 (Mass. App. Ct. 1994) (quoting USM Corp. v.
                                                               _________

          Arthur  D.  Little Sys.,  Inc., 546  N.E.2d  888 (Mass.  App. Ct.
          ______________________________

          1989)),  review granted, 644 N.E.2d 226 (1994).  In the extensive
                   ______________

          case law  on Chapter 93A, "a common  refrain has developed.  'The

          objectionable conduct must attain a level of rascality that would

          raise an eyebrow of someone inured to the rough and tumble of the

          world of commerce.'"   Quaker  State, 884 F.2d  at 1513  (quoting
                                 _____________

                              
          ____________________

          16  Scholz argues at length in  his breach that the facts do  not
          support a finding  that his acts  were unfair or  deceptive.   We
          decline,  however, to enter into the record yet again to point to
          testimony and evidence refuting his contentions.

                                         -56-














          Levings v. Forbes &amp; Wallace Inc., 396 N.E.2d 149, 153 (Mass. App.
          _______    _____________________

          Ct. 1979)).  In short, 

                         a  chapter  93A claimant  must show
                         that  the defendant's  actions fell
                         "within  at  least the  penumbra of
                         some   common-law,  statutory,   or
                         other   established    concept   of
                         unfairness,"   or   were  "immoral,
                         unethical,       oppressive      or
                         unscrupulous,"   and  resulted   in
                         "substantial   injury   . . .    to
                         competitors or other businessmen."

          Id. (quoting PMP Assocs., Inc. v. Globe Newspaper Co., 321 N.E.2d
          ___          _________________    ___________________

          915, 917 (Mass. 1975)).  In evaluating whether an act or practice

          is  unfair,  we  assess   "the  equities  between  the  parties,"

          including what both parties  knew or should have known.   Swanson
                                                                    _______

          v. Bankers Life Co., 450 N.E.2d 577, 580 (Mass. 1983).
             ________________

                    It is  well established that  breach of a  contract can

          lead to a  violation of Chapter  93A.  See, e.g.,  Anthony's Pier
                                                 ___  ____   ______________

          Four, Inc. v. HBC Assocs., 583 N.E.2d 806, 821 (Mass. 1991).  The
          __________    ___________

          simple fact that a  party knowingly breached a contract  does not

          raise  the  breach  to the  level  of  a  Chapter 93A  violation,

          however.   Cf.  Pepsi-Cola Metro.  Bottling Co.,  754 F.2d  at 18
                     ___  _______________________________

          (stating that  "mere breaches of  contract, without more,  do not

          violate [C]hapter 93A.").  In the breach of contract context, the

          Massachusetts Supreme  Judicial Court has "said  that conduct 'in

          disregard  of known  contractual  arrangements' and  intended  to

          secure benefits for the breaching party constitutes an unfair act

          or practice  for [Chapter] 93A  purposes."  Anthony's  Pier Four,
                                                      ____________________

          583 N.E.2d at 821;  see Wang Labs., Inc. v.  Business Incentives,
                              ___ ________________     ____________________

          Inc., 501 N.E.2d 1163, 1165 (Mass. 1986).  Relying on the Appeals
          ____

                                         -57-














          Court of  Massachusetts' decision  in Atkinson v.  Rosenthal, 598
                                                ________     _________

          N.E.2d  666 (Mass.  App. Ct.  1992), Scholz  seeks to  limit this

          test.  There, the court  examined a series of breach of  contract

          cases and concluded that

                         [t]here   is   in  those   cases  a
                         constant  pattern of  the use  of a
                         breach  of contract  as a  lever to
                         obtain  advantage   for  the  party
                         committing  the breach  in relation
                         to  the  other  party;   i.e.,  the
                         breach    of   contract    has   an
                         extortionate quality  that gives it
                         the  rancid  flavor of  unfairness.
                         In  the  absence of  conduct having
                         that quality, a failure  to perform
                         obligations under  a written lease,
                         even  though   deliberate  and  for
                         reasons of  self-interest, does not
                         present an  occasion for invocation
                         of [Chapter] 93A remedies.

          Id. at 670-71  (citation omitted).   We have  not addressed,  and
          ___

          find no Massachusetts case  law addressing, whether this language

          from Atkinson extends beyond its immediate context to limit award
               ________

          of Chapter 93A damages in breach of  contract cases to cases with

          an "extortionate quality."   See NASCO,  Inc. v. Public  Storage,
                                       ___ ____________    ________________

          Inc.,  29 F.3d  28,  33 (1st  Cir.  1994) (quoting  Atkinson  and
          ____                                                ________

          accepting,  arguendo, that  "in a  breach of  contract situation,
                      ________

          liability does not attach under [Chapter]  93A, section 11 unless

          a defendant  knowingly  breached a  contact  in order  to  secure

          additional benefits to itself to the detriment of a plaintiff.").



                    We need not do so today,  however.  First, if we accept

          the test for Chapter 93A violation Scholz claims Atkinson frames,
                                                           ________

          the  district court's award here will not stand because there has

                                         -58-














          not been an extortionate element to the breach:  Scholz tried  to

          hold  on to Ahern's  money, but he  was not using  the breach "to

          force  [Ahern] to  do what  otherwise [he]  would not  be legally

          required to do."17   Pepsi-Cola Metro. Bottling Co., 754  F.2d at
                               ______________________________

          18 (affirming Chapter 93A  award where defendant withheld payment

          as  a "wedge" to force  plaintiff to supply  more products); see,
                                                                       ___

          e.g.,  Anthony's  Pier  Four, 583  N.E.2d  at  822 (holding  that
          ____   _____________________

          withholding  approval as a  pretext to force  party into changing

          price of underlying contract violated Chapter 93A).

                    Second, if we were to find that Atkinson does not limit
                                                    ________

          Chapter 93A liability to cases  with an extortionate element, but

          rather address Scholz' acts under the test as stated in Anthony's
                                                                  _________

          Pier Four, we still  find that Chapter 93A has not been violated.
          _________

          That test asks whether  there has been conduct "'in  disregard of

          known contractual  arrangements' and intended to  secure benefits

          for the breaching  party."   Anthony's Pier Four,  583 N.E.2d  at
                                       ___________________

          821;  see Wang Labs., 501 N.E.2d at 1165 (finding liability under
                ___ __________

          Chapter  93A  where  interference  with  contract "constituted  a

                              
          ____________________

          17   Ahern tries to argue that not only the Scholz Statement, but
          also  Scholz' defense of this  case, in which  he raised numerous
          defenses and counterclaims, fulfill  the requirement of finding a
          "wedge" used by Scholz to force Ahern to abandon his share of the
          royalties from the  third album.   However, the district  court's
          findings  do  not  discuss  Scholz'  conduct  in  defending  this
          lawsuit, either by reference  or as a basis for  its conclusions.
          We  refuse  to  move as  far  afield  from  the district  court's
          findings in order to find extortionate conduct as Ahern requests.
          His  reliance  on  the  court's  discussion  of  the  defendant's
          litigation practices in Quaker  State is misplaced, because there
                                  _____________
          the defendant's  prosecution of  the counterclaims was  raised in
          the complaint,  and was  addressed by the  district court  below.
          884 F.2d at 1513-14.

                                         -59-














          willful act calculated to obtain the benefits of [the] contract .

          .  .  without   cost  and  in  disregard   of  known  contractual

          arrangements").   Here,  the  court found  that Scholz  knowingly

          breached the contract in order to gain a benefit -- Ahern's share

          of the royalties.  But  that would be true of any  knowing breach

          of  a contract.    The question,  then, is  whether the  level of

          "rascality" is  sufficient to rise to the level of a violation of

          Chapter  93A.  We  find it is  not.  First,  while the deductions

          that the court deemed commercially  unreasonable ate up more than

          half of the  royalties reported, we note that Scholz did not seek

          to conceal the nature of the deductions:  he laid them out on the

          Scholz Statement in varying levels of detail.  Next, while Scholz

          has an extensive degree of control over the moneys from the third

          album, there has been no allegation that he did not report all of

          the royalties from  MCA on  the Scholz Statement.   Evidence  was

          presented  that  the  number of  hours  spent  on  the album  was

          reconstructed after the fact, but the district court did not find

          that the figures given  were inaccurate, just that they  were not

          deductible.   Scholz' breach amounted to more than a dispute over

          the commercial reasonableness of  certain deductions, as he would

          have us believe.  Nonetheless, his acts did not rise to the level

          of rascality  required for Chapter 93A  liability.18  Ultimately,

                              
          ____________________

          18  Both parties devote sections of their briefs to six "factors"
          related  to Scholz'  "rascality" which  Scholz raises,  and Ahern
          disputes.  We note that, for the most part, they prove irrelevant
          because  we focus here on  Scholz' actions in  breaching the FMA,
          not  the nature of the  relationship between the  parties for the
          last twenty years.

                                         -60-














          therefore,  we conclude that the district court erred as a matter

          of law in finding  Scholz violated Chapter 93A, and  reverse that

          holding. 

                       PREJUDGMENT INTEREST AND ATTORNEY'S FEES
                       PREJUDGMENT INTEREST AND ATTORNEY'S FEES

                    As  we have found  that Scholz did  not violate Chapter

          93A,  we need  not address  the parties' arguments  regarding the

          award  of attorney's  fees under that  statute.  Nor  do we weigh

          Ahern's  cross-appeal of  the district  court's refusal  to award

          prejudgment  interest, since  that is  based on  his Chapter  93A

          contention.   See Mass. Gen. L. ch.  231   6C ("interest shall be
                        ___

          added . . .  to the amount of damages,  at the contract rate,  if

          established, or at the rate of twelve percent per annum from  the

          date of the breach or demand.").  It does not apply to his breach

          of contract claim, as that  was brought under New York law.   See
                                                                        ___

          Aubin v. Fudala, 782  F.2d 287, 289 (1st Cir.  1986) (noting that
          _____    ______

          "[w]hen  a Plaintiff secures a  jury verdict based  on state law,

          the  law  of   that  state  governs  the  award   of  prejudgment

          interest.").

                    No costs on appeal to either party.

                                      CONCLUSION
                                      CONCLUSION

                    For  the reasons  stated  above, we  reverse the  lower
                                                         _______

          court's  decision regarding  Chapter 93A  violations, affirm  its
                                                                ______

          other  holdings except on rescission, and remand for trial on the
                                                    ______

          issue of rescission.






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